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                           EXHIBIT E
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                              Shin vs. YSE

                             Shin vs YSE
                                   3/15/2019



                             Condensed Transcript

                                  Prepared by:

                                  Robert Cirillo
                                Robert Cirillo, Inc.

                             Tuesday, March 26, 2019



   Deposition of Joshua So
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                                                 Page 1                                               Page 3
 1 UNITED STATES DISTRICT COURT                            1
   EASTERN DISTRICT OF NEW YORK
 2 ------------------------------------------x                    IT IS HEREBY STIPULATED AND AGREED by
   EDWARD SHIN,                                            2   and between the attorneys for the
 3
                     Plaintiff,                            3   respective parties herein, that filing and
 4                                                         4   sealing be and the same are hereby waived.
 5     Index No: 1:17-cv-05183 (LG) (SMG)
 6         -against-
                                                           5      IT IS FURTHER STIPULATED AND AGREED
 7 YSE ENTERPRISES, INC., MICHAEL S. WANG,                 6   that all objections, except as to the form
   VICTORIA WANG as TRUSTEE OF THE RICHARDSON              7   of the question, shall be reserved to the
 8 IRREVOCABLE TRUST, TERRANCE WU, DEH-JUNG
   DEBORAH WANG, and YOUNG K. LEE,                         8   time of the trial.
 9                                                         9      IT IS FURTHER STIPULATED AND AGREED
                     Defendants.
10                                                        10   that the within deposition may be sworn to
   -----------------------------------------x             11   and signed before any officer authorized
11                March 15 2019                           12   to administer an oath, with the same force
                  11:19 A.M.
12                                                        13   and effect as if signed and sworn to
                  199 Water Street                        14   before the Court.
13                 New York, New York
14                                                        15
15       EXAMINATION BEFORE TRIAL of the                  16
16 Defendant YSE ENTERPRISES, by JOSHUA SO,
17 taken by Plaintiff and Defendants,
                                                          17
18 pursuant to Order, before Christine                    18
19 Cutrone, a Notary Public for and within                19
20 the State of New York.
21                                                        20
                     ROBERT CIRILLO, INC.                 21
22             CERTIFIED SHORTHAND REPORTERS
                 135 EAST CEDAR STREET                    22
23              LIVINGSTON, NEW JERSEY 07039              23
                   973-740-1331
24              cirillo.robert@gmail.com
                                                          24
25                                                        25
                                                 Page 2                                               Page 4
 1   APPEARANCES:
 2
                                                           1               SO
 3 THE BASIL LAW GROUP, P.C.                               2 J O S H U A S O , having first been
   Attorneys for Plaintiff
 4     1270 Broadway
                                                           3 duly sworn by a Notary Public, for and
       Suite 305                                           4 within the State of New York, upon being
 5     New York, New York 10001
 6 BY: DAVID COHEN, ESQ.                                   5 examined, testified as follows:
 7                                                         6
 8 THE CHARTWELL LAW OFFICES, LLP
   Attorneys for Defendant                                 7 EXAMINATION BY MR. COHEN:
 9 MICHAEL S. WANG, VICTORIA WANG as TRUSTEE               8      Q. Please state your name for the
   OF THE RICHARDSON IRREVOCABLE TRUST,
10 DEH-JUNG DEBORAH WANG AND TERRENCE WU                   9 record.
      81 Main Street
11    Suite 100
                                                          10      A. Joshua So.
      White Plains, New York 10601                        11      Q. What is your present home
12
   BY: CARMEN NICOLAOU, ESQ.                              12 address?
13                                                        13      A. 212-08 43rd Avenue, Bayside, New
14
   AHMUTY, DEMERS & MCMANUS, ESQ.                         14 York 11361.
15 Attorneys for Defendants                               15      Q. Good morning.
      200 I.U. Willets Road
16    Albertson, New York 11507                           16      A. Good morning.
17 BY: JANICE BERKOWITZ, ESQ.
   OUR FILE: ORNA 167417FAC
                                                          17      Q. My name David Cohen. I
18                                                        18 represent the plaintiff in this case Edward
19 LONGO & D'APICE, ESQS.
   Attorneys for Defendant
                                                          19 Shin.
20 YOUNG K. LEE                                           20          Would you state your name for
      26 Court Street
21    Suite 1700                                          21 the record?
      Brooklyn, New York 11242                            22      A. Joshua So.
22
   BY: TIMOTHY M. MCCARTHY, ESQ., of Counsel              23      Q. Could you spell that for the
23                                                        24 court reporter?
24
25                                                        25      A. J-O-S-H-U-A. Last name S-O.
[3/15/2019] Shin vs YSE                                                                           Pages 1 - 4
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                                              Page 5                                                Page 7
 1                   SO                                 1                 SO
 2         Q. Sir, have you ever had your               2   business?
 3    deposition taken before?                          3       A. Correct.
 4         A. No.                                       4       Q. And is that business in New York
 5         Q. I'm just going to give you a few          5   City?
 6    ground rules. As you can see there's a court      6       A. Correct.
 7    reporter that's taking down everything that       7       Q. Were you an employee of YS2?
 8    you and I say. So it's important that your        8       A. Yes.
 9    answers be verbal, because she can't take down    9       Q. How long were you an employee of
10    a nod or a shrug. Also it's important that       10   YS2?
11    only one us is talking at a time. If your        11       A. For two and a half years.
12    counsel objects to a question that I have, let   12       Q. Is YS2 currently operating as a
13    her state her objection and then she'll          13   business?
14    instruct you whether or not to answer the        14       A. No.
15    question. If you don't understand my             15       Q. When did they cease operating?
16    question, let me know and I'll try to rephrase   16       A. January of this year.
17    it so that you do understand it. Also I'm        17       Q. Do you know if the YS2 is
18    just asking for your personal knowledge. I'm     18   operating in a different location?
19    not asking for you to guess or speculate. If     19       A. No.
20    in response to one of my questions you're        20       Q. You don't know or they're not?
21    estimating, just let me know. Also if you        21       A. I don't know.
22    need to take a break or use the restroom,        22       Q. Did you stop working for YS2 in
23    please let me know and we will accommodate       23   January of this year?
24    you.                                             24       A. Correct.
25             Do you understand those                 25       Q. At the time the business closed,
                                              Page 6                                                Page 8
 1                  SO                                  1                 SO
 2    instructions?                                     2   what was your position with the company?
 3         A. Yes.                                      3        A. Manager.
 4         Q. Sir what is your address?                 4        Q. Did you have any other positions
 5         A. 212-08 43rd Avenue, Bayside, New          5   with the company?
 6    York 11361.                                       6        A. No.
 7         Q. What is your native language?             7        Q. Prior to working for YS2, did
 8         A. Korean.                                   8   you work in any establishments that served
 9         Q. Are you fluent in Korean?                 9   alcoholic beverages?
10         A. No.                                      10        A. No.
11         Q. Do you have some understanding           11        Q. What were your duties as manager
12    of Korean?                                       12   of YS2?
13         A. Basically.                               13        A. Day-to-day operation.
14         Q. Were you born in this country?           14        Q. Can you be a little more
15         A. Brazil.                                  15   specific as to what you mean by day-to-day
16         Q. Are you currently employed?              16   operation?
17         A. Yes.                                     17        A. Inventory, clientele.
18         Q. By whom?                                 18        Q. What do you mean by clientele?
19         A. Well, I have my own business.            19        A. Like reservation.
20         Q. Okay. What is the name of that           20        Q. Did your duties include
21    business?                                        21   supervising any employees or independent
22         A. VIP Garment Care Corp.                   22   contractors working for YS2?
23         Q. What kind of business is that?           23        A. Yes.
24         A. Dry cleaner.                             24        Q. And whom specifically did you
25         Q. Are you the owner of that                25   supervise?
[3/15/2019] Shin vs YSE                                                                         Pages 5 - 8
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                                                 Page 9                                                 Page 11
 1                  SO                                     1                  SO
 2         A. John Lee.                                    2   questions. On the top of Exhibit B, there's
 3         Q. Anybody else other than John                 3   writing that is not in English. Is that in
 4    Lee?                                                 4   Korean?
 5         A. No.                                          5        A. Correct.
 6         Q. What was Mr. Lee's position with             6        Q. Can you read that?
 7    YS2?                                                 7        A. No, I can't.
 8         A. Waiter.                                      8        Q. Do you know if the writing on
 9         Q. Did YS2 have independent                     9   the top left-hand side of B are female Korean
10    contractors that performed work at that site?       10   names?
11         A. Could you be more specific.                 11        A. I can't read Korean.
12         Q. Do you know what an independent             12        Q. There's a time on here, sir,
13    contractor is?                                      13   10:45.
14         A. Yeah.                                       14        A. Correct.
15         Q. Somebody who is not an employee             15        Q. Do you know what that time
16    of the business, but performs work?                 16   represents?
17         A. Oh, no.                                     17        A. The time when the customer came
18         Q. When YS2 was in operation, did              18   in.
19    YS2 have female hostess that worked for the         19        Q. Let me ask you a couple of
20    company?                                            20   questions about YS2 while it was in business.
21         A. No.                                         21            What was the nature of the
22         Q. No?                                         22   business?
23         A. No.                                         23        A. It's a business club. Members
24         Q. Did they have female servers?               24   only.
25         A. No.                                         25        Q. So you had to be a member to
                                                Page 10                                                 Page 12
 1                   SO                                    1                SO
 2        Q. Let me hand you what was                      2   attend?
 3    previously marked Exhibit B.                         3        A. Correct.
 4             MS. NICOLAOU: Do you have a                 4        Q. Have you ever heard the term
 5        marked copy? The actual marked.                  5   room salon?
 6             MR. COHEN: That's fine.                     6        A. Yes.
 7             MS. NICOLAOU: Just because                  7        Q. What does that term mean to you?
 8        I like to make sure we have the                  8        A. It's a drinking establishment.
 9        right ones. That was marked as B?                9        Q. Is that what YS2 was?
10             MS. BERKOWITZ: Yes.                        10        A. No.
11             MR. COHEN: Marked on                       11        Q. Why wasn't YS2 a room salon?
12        Mr. Shin's deposition.                          12        A. YS2 is a business membership
13             MS. NICOLAOU: The date is                  13   only.
14        on there February 1st.                          14        Q. Was there Karaoke?
15        Q. Mr. So, I like you to take a                 15        A. Yes.
16    look at what has been marked as Exhibit B.          16        Q. And was alcohol served?
17             Have you ever seen this before?            17        A. Yes.
18        A. Yes.                                         18        Q. Was food served?
19        Q. When did you first see this?                 19        A. Yes.
20        A. I see it every day.                          20        Q. Was the food cooked on the
21        Q. But this specific check, have                21   premises?
22    you seen this before?                               22        A. Yes.
23        A. I seen it, but going back two                23        Q. And other than Mr. John Lee,
24    years. I don't recall.                              24   were there other servers?
25        Q. Let me ask you a couple of                   25        A. No.
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                                               Page 13                                                  Page 15
 1                   SO                                   1                 SO
 2         Q. I asked about this before. I                2   were maintained on the premises at YS2?
 3    just want to be clear.                              3        A. I don't recall.
 4              Were there any female employees           4        Q. Who is the owner of YS2?
 5    or independent contractors that performed any       5        A. Hyun Hak.
 6    duties on behalf of YS2?                            6        Q. Spell that?
 7         A. No.                                         7        A. H-Y-U-N H-A-K. Last name Y-I.
 8         Q. There were no women that --                 8        Q. I'm sorry, how do you pronounce
 9         A. Customers.                                  9   that?
10         Q. They were customers?                       10        A. Hyun Hak.
11         A. Yes.                                       11        Q. That's a lady?
12              MS. BERKOWITZ: Off the                   12        A. No.
13         record.                                       13        Q. A man?
14              (Discussion is held off the              14        A. A man.
15         record.)                                      15        Q. So we'll just refer to him as
16         Q. So if I understand your                    16   Mr. Yi?
17    testimony correctly, sir, there was one server     17        A. Mr. Yi.
18    and that was Mr. Lee?                              18        Q. Other than Mr. Yi, were there
19         A. Correct.                                   19   any other owners of YS2?
20         Q. And did Mr. Lee serve alcohol to           20        A. I don't recall. I don't recall
21    all of the rooms at YS2?                           21   specifically with him.
22         A. That's his duty as a waiter.               22        Q. Did you report to Mr. Yi?
23         Q. And what about food?                       23        A. Correct.
24         A. Food as a waiter he does that              24        Q. Other than Mr. John Lee, were
25    too.                                               25   there any employees or independent contractors
                                               Page 14                                                  Page 16
 1                   SO                                   1                  SO
 2         Q. To the extent that there were               2   that served alcoholic beverages to patrons of
 3    women present in those rooms, is it your            3   YS2?
 4    testimony that they were guests?                    4        A. A waiter.
 5         A. Correct.                                    5        Q. Yes, other than them?
 6         Q. Do you know if they were                    6        A. No.
 7    compensated by the patrons of YS2?                  7        Q. What about yourself? Did you
 8         A. No.                                         8   ever serve?
 9         Q. You don't know?                             9        A. No.
10         A. No.                                        10        Q. If you could just let me finish
11         Q. They were not?                             11   my question.
12         A. They were not.                             12        A. I apologize.
13         Q. Does YS2, while it was in                  13        Q. That's okay. Just for the
14    operation, did it keep records regarding the       14   record.
15    identity of persons who had worked for the         15            In the two and a half years that
16    company?                                           16   you worked at YS2, did you ever serve
17         A. Of the clientele, that's what              17   alcoholic beverage to any patrons?
18    you are trying to say?                             18        A. No.
19         Q. No. I said persons who had                 19        Q. Did you greet patients when they
20    worked as employees, who were independent          20   entered the premises?
21    contractors.                                       21        A. Yes.
22         A. That's with the owner.                     22        Q. Was that part of your job
23         Q. The owner?                                 23   duties?
24         A. Yeah.                                      24        A. Yes.
25         Q. Do you know if those records               25        Q. Did you know some of the patrons
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                                               Page 17                                                 Page 19
 1                  SO                                    1                  SO
 2    by sight who they were?                             2        Q. Just so the record is clear, you
 3         A. Some of them.                               3   are aware of New York alcohol training
 4         Q. I believe you said that YS2 was             4   awareness program?
 5    a private club?                                     5        A. Correct.
 6         A. Yes.                                        6        Q. What's your knowledge of that
 7         Q. Would you know persons who were             7   program?
 8    members of the club?                                8        A. Like I said I heard of it, but
 9         A. There's a lot of members. So,               9   the full details, I don't.
10    you know, at that time I don't recall who is       10        Q. From what source did you hear
11    who.                                               11   about that alcohol training awareness program?
12         Q. Did your duties as manager                 12        A. Well, usually a drinking
13    include supervising any employees regarding        13   establishment has some kind of basic of those
14    serving alcoholic beverages?                       14   trainings.
15         A. Yes.                                       15        Q. Based on your testimony, you did
16         Q. Can you describe specifically              16   not participate in that New York alcohol
17    how you supervised the service of alcoholic        17   training awareness program; is that correct?
18    beverages?                                         18        A. Correct.
19         A. To John Lee.                               19        Q. Do you know anybody who was
20         Q. Was there some type of training            20   employed by YS2 who did participate in the New
21    procedure that you used?                           21   York alcohol training awareness program?
22         A. Yes.                                       22        A. I don't know.
23         Q. Could you describe what that               23        Q. Do you know if Mr. Yi did?
24    training procedure was?                            24        A. Mr. Yi, I don't know.
25         A. So what the training is it's               25        Q. I believe you told John Lee that
                                               Page 18                                                 Page 20
 1                  SO                                    1                 SO
 2    when they drink and if they're intoxicated          2   if a patron was intoxicated not to serve him
 3    then that's when I stop serving.                    3   with alcoholic beverages, is that fair to say?
 4         Q. Is that what you told Mr. Lee?              4         A. No. If the customer seems
 5         A. Correct.                                    5   intoxicated, he'll let me know and it's to my
 6         Q. Did you give Mr. Lee any written            6   discretion.
 7    materials?                                          7         Q. I'm sorry. So the policy was if
 8         A. That I don't recall. That's Mr.             8   John Lee saw a patron that was intoxicated, he
 9    Yi, because he's the owner.                         9   was to tell you?
10         Q. Mr. Yi is the owner.                       10         A. Correct.
11             Did Mr. Yi also, to your                  11         Q. And then if he informed you of
12    knowledge, did he instruct John Lee regarding      12   that, what would you do?
13    the service of alcoholic beverages?                13         A. It's my decision of serving more
14         A. I don't know.                              14   alcohol or to not serving.
15         Q. Do you know if Mr. Yi had any              15         Q. How would you determine if a
16    written materials on that topic?                   16   patron was intoxicated?
17         A. I don't know.                              17         A. So the things that I look for is
18         Q. Have you, yourself, taken any              18   if the speech -- if they slur. If they wobbly
19    training regarding the sale or service of          19   walk. And if they like very loud. Then I
20    alcoholic beverages in New York?                   20   decide if I should serve them more.
21         A. By whom?                                   21         Q. And what specifically did you
22         Q. For example, are you familiar              22   tell John Lee how he would determine if a
23    with the New York alcohol training awareness       23   patron was intoxicated?
24    program?                                           24         A. So that's the basic if a
25         A. I'm aware, but I didn't take it.           25   customer is intoxicated.
[3/15/2019] Shin vs YSE                                                                          Pages 17 - 20
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                                               Page 21                                                 Page 23
 1                  SO                                    1                   SO
 2         Q. Do you mean what you had said               2   regarding particular persons within a room?
 3    previously?                                         3   Whether a particular person he thought was
 4         A. Yes.                                        4   intoxicated?
 5         Q. I think you said three things.              5        A. Well, if, for example, if it's
 6    One would be slurred speech?                        6   like a party of four, it's kind of very hard
 7         A. Yes.                                        7   to pinpoint. So he'll just go in and see the
 8         Q. And then the other was they were            8   atmosphere.
 9    off balance?                                        9        Q. Can you explain how, just in a
10             MS. BERKOWITZ: Wobbly.                    10   typical room, how alcoholic beverages were
11         Q. Is that the word you used?                 11   ordered and served?
12         A. Yes.                                       12             MS. BERKOWITZ: I'm just
13         Q. The other one was if they were             13        going to object to form, because
14    loud?                                              14        it's compound.
15         A. Correct.                                   15             MR. COHEN: Let me rephrase.
16         Q. Are there any other indica or              16        Q. Can you tell me in general terms
17    other types of behavior that you would             17   how alcoholic beverages were ordered in a room
18    associate with someone being intoxicated?          18   at YS2?
19         A. Well, that's the most thing I              19        A. How was it ordered?
20    see on the person if they are intoxicated.         20        Q. Yes.
21         Q. How long did Mr. Lee work as a             21        A. The customer requests whatever
22    waiter for YS2?                                    22   drink they want.
23         A. Same time as me.                           23        Q. And let's go back to Exhibit B.
24         Q. During that time, how many times           24             First of all, the date on
25    did he go to you and inform you that he            25   Exhibit B is 4/21, do you see that?
                                               Page 22                                                 Page 24
 1                    SO                                  1                   SO
 2    believed a patron may be intoxicated?               2        A. Yes.
 3          A. He said it a lot.                          3        Q. Going to represent to you that
 4          Q. A lot?                                     4   this was the check of one of the rooms during
 5          A. Yes. Meaning to the point you              5   the evening of the incident that brings us
 6    know he'll instruct me, like this person --         6   here.
 7    he'll inspect the room and he'll let me know        7             Now, according to the check it
 8    how the room is.                                    8   has black two bottles.
 9          Q. When you say a lot, could you              9             Do you know what that refers to?
10    estimate? For example, on a weekly basis, how      10             MS. BERKOWITZ: I just don't
11    many times did Mr. Lee tell you that somebody      11        think there's a foundation,
12    might be intoxicated?                              12        because I know that the witness
13          A. Oh, I don't know.                         13        didn't prepare this document.
14          Q. Over the course of the two and a          14             MR. COHEN: But he said that
15    half years, can you estimate how many times        15        he saw it.
16    Mr. Lee told you that --                           16             MS. NICOLAOU: Actually he
17          A. Maybe my wording -- what I meant          17        said he's seen other documents
18    is he'll tell me room by room this person --       18        like this.
19    how the room is, you know.                         19        A. It's a bill. It's a bill.
20          Q. When you say he would tell you            20             MS. BERKOWITZ: With that
21    room by room?                                      21        objection, the witness didn't
22          A. Meaning he'll -- like a                   22        prepare the document.
23    feedback. He'll tell me this room is -- if         23             MR. COHEN: Understood.
24    any issues, he'll let me know.                     24        Q. But do you know what the term
25          Q. Would he tell you specifically            25   black refers to?
[3/15/2019] Shin vs YSE                                                                          Pages 21 - 24
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                                                  Page 25                                                  Page 27
 1                   SO                                      1                  SO
 2         A. Johnnie Walker Black.                          2       A.     I don't know.
 3         Q. Is that scotch?                                3             MS. BERKOWITZ: I'm going to
 4         A. Yes.                                           4        object to the word "served."
 5         Q. It says two bottles?                           5        Q. Do you know what the word served
 6         A. Yes.                                           6   means?
 7         Q. By bottle is it a fifth? Do you                7        A. Yes.
 8    know what I mean by a fifth?                           8        Q. What does it mean to you?
 9         A. No. What do you mean?                          9        A. It means somebody serving.
10         Q. 750 milliliters.                              10        Q. Who poured if you know? Would
11         A. The bottle size?                              11   Mr. Lee, as part his job duties, would he pour
12         Q. Yes.                                          12   the alcohol into the glass of the patron?
13         A. It's -- yeah, 750.                            13        A. No.
14         Q. If you look at Exhibit B, it                  14        Q. Why not?
15    states there were four guests; do you see             15        A. Because that's not his duty.
16    that?                                                 16        Q. So what is his duty?
17         A. Yes.                                          17        A. To bring the drink and just
18         Q. Let's start with the two                      18   leave it there.
19    bottles.                                              19        Q. When you say the drink, you mean
20             Do you know if the two bottles               20   the bottle?
21    were ordered at the same time?                        21        A. Correct.
22         A. No.                                           22        Q. And you leave it where?
23         Q. Would they generally be ordered               23        A. On the table.
24    one bottle first?                                     24        Q. On the table. Is there
25         A. Correct.                                      25   glassware on the table?
                                                  Page 26                                                  Page 28
 1                  SO                                       1                  SO
 2        Q. So the first bottle Mr. Lee                     2        A. There's like coke and glass.
 3    would bring the bottle into the room?                  3        Q. When I say glassware, I mean
 4        A. First bottle?                                   4   glasses. For example, are there shot glasses
 5        Q. Yes.                                            5   on the table? Do you know what a shot glass
 6        A. Yes.                                            6   is?
 7        Q. What type of glasses would be                   7        A. Yes.
 8    given to the patrons to drink the scotch?              8        Q. Are there shot glasses on the
 9             MS. BERKOWITZ: Objection to                   9   table?
10        form. I don't know that glasses                   10        A. There are regular glasses.
11        are given. I know for a fact that                 11        Q. Does that mean there's no shot
12        glasses aren't given to the                       12   glasses?
13        patrons. You want to ask the                      13        A. That's if they want we could.
14        procedure as to how the bottle was                14        Q. If the patron request a shot
15        brought in and what the setup is?                 15   glass?
16        But no drinks are actually poured                 16        A. Correct.
17        for the patrons.                                  17        Q. Then YS2 would provide it?
18             MR. COHEN: Let's see what                    18        A. Correct.
19        he knows.                                         19        Q. Would patrons bring their own
20        Q. Can you describe how, in this                  20   shot glasses into YS2?
21    case for example, the Johnnie Walker Black was        21        A. No.
22    served to the four individual patrons in that         22        Q. If you look at Exhibit B, it has
23    room?                                                 23   black, two bottles. I'm going to represent to
24             MS. BERKOWITZ: I'm going to                  24   you that Mr. Shin, in his deposition,
25        object again.                                     25   testified that he also drank beer.
[3/15/2019] Shin vs YSE                                                                              Pages 25 - 28
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                                               Page 29                                                 Page 31
 1                 SO                                     1                  SO
 2            Can you explain why beer does               2   but I wouldn't serve more alcohol.
 3    not appear on the check?                            3        Q. What, if anything, would you
 4         A. Because there was no beer.                  4   tell Mr. Lee?
 5         Q. There was no beer?                          5        A. What do you mean?
 6         A. Yeah.                                       6        Q. I believe you testified that you
 7         Q. No beer was brought into the                7   personally do not bring any alcoholic beverage
 8    room?                                               8   into the room.
 9         A. Correct.                                    9        A. No. If they want more alcohol,
10         Q. But if beer was brought into the           10   I would not serve them more alcohol.
11    room, would it be on the check?                    11        Q. Did you instruct Mr. Lee to
12         A. Correct.                                   12   enter each room on a regular basis to
13         Q. What about soft drinks like                13   determine whether or not any of the patrons
14    coke? If that was brought into the room,           14   were intoxicated?
15    would that be on the check?                        15        A. Well, he'll go room to room to
16         A. Coke, no.                                  16   see if they need any more, like, food. That's
17         Q. No?                                        17   his duty.
18         A. Cocoa Cola, no.                            18        Q. Is there a way that the patrons
19         Q. But your testimony is that if              19   that are in a specific room to communicate
20    beer was brought into the room that would          20   with Mr. Lee if they needed either food or
21    appear on the check?                               21   additional beverages?
22         A. Correct.                                   22        A. If he wasn't in the room?
23         Q. That was that policy of YS2?               23        Q. If he wasn't in the room.
24         A. Correct.                                   24        A. Then the customer will come out
25         Q. Exhibit B, there's an entry that           25   and ask for the waiter.
                                               Page 30                                                 Page 32
 1                  SO                                    1                 SO
 2    says room charge, do you see that, sir?             2         Q. Did YS2 have video cameras in
 3         A. Yes, I do.                                  3   the establishment?
 4         Q. It states $150; is that correct?            4         A. Yes.
 5         A. Correct.                                    5         Q. How many videos cameras did it
 6         Q. Do you know how that was                    6   have?
 7    calculated? Is that on a per hour basis?            7         A. I believe a couple. Like four
 8         A. Correct.                                    8   or five.
 9         Q. How much did YS2 charge for a               9         Q. Were any of the video cameras in
10    room charge on a per hour basis?                   10   any of the rooms?
11         A. That varies.                               11         A. No.
12         Q. That varies?                               12         Q. So where were the four or five
13         A. On the size of the room.                   13   video cameras?
14         Q. Do you know what room the check            14         A. In the hallway, in the stairway
15    for Exhibit B was located in?                      15   and outside of the establishment.
16         A. I don't recall.                            16         Q. Was there a video camera at the
17         Q. If Mr. Lee told you that a                 17   entrance of the establishment?
18    patron might be intoxicated, and you examined      18         A. Yes.
19    the patron and believe that in fact the patron     19         Q. How many rooms were there in
20    was intoxicated --                                 20   YS2?
21         A. I would not serve anymore                  21         A. 13.
22    alcohol to that customer.                          22         Q. For example, on a Friday night,
23         Q. Would you ask the customer to              23   a typical Friday night, how many of those
24    leave?                                             24   rooms would have patrons?
25         A. I wouldn't tell him to leave,              25         A. It varies.
[3/15/2019] Shin vs YSE                                                                          Pages 29 - 32
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                                                  Page 33                                                  Page 35
 1                  SO                                       1                 SO
 2         Q. Were there ever Friday nights                  2   protection too?
 3    where all 13 rooms were occupied?                      3        A. Yes.
 4         A. No.                                            4        Q. Is it also for protection of
 5         Q. Was there ever a Friday night                  5   patrons that are frequenting the
 6    where six rooms were occupied?                         6   establishment?
 7         A. Yes.                                           7        A. What do you mean?
 8         Q. And on those nights, was Mr. Lee               8        Q. That are eating and drinking at
 9    the only waiter?                                       9   the establishment?
10         A. Yes.                                          10        A. It's for the protection for
11         Q. What if Mr. Lee was sick, who                 11   everybody.
12    would deliver the food and drinks to the              12        Q. When YS2 was operating, was the
13    rooms?                                                13   video camera footage viewed in a certain
14         A. Then the owner would come out.                14   location within the building?
15         Q. Now, as manager, did you have                 15        A. What do you mean?
16    any job duties involving the security cameras?        16        Q. You have a camera. Say the
17         A. As a manager -- can you repeat                17   camera is looking at the stairway, is there a
18    that again?                                           18   location within YS2 where someone could view
19         Q. Let me rephrase it.                           19   that footage?
20             As part of your duties as                    20        A. Yes. They got a footage at the
21    manager of YS2, did you review any of the             21   stairway.
22    security video?                                       22        Q. Was somebody viewing that live
23         A. If there was an incident.                     23   as it happened?
24         Q. Roughly how many times did you                24        A. No.
25    have to review the video because of an                25        Q. Is there a specific location in
                                                  Page 34                                                  Page 36
 1                  SO                                       1                 SO
 2    incident?                                              2   the building where the videotapes were
 3          A. Not much. Basically like I said               3   maintained?
 4    if there was an incident, then I'll review.            4        A. I don't know that.
 5          Q. But how many incidents were                   5        Q. Are you aware of a videotape of
 6    there in the two and a half years?                     6   the incident in this lawsuit?
 7          A. Incident, one.                                7        A. Am I aware of the video?
 8          Q. What was that incident?                       8        Q. Yes.
 9          A. On that date.                                 9        A. Yes.
10          Q. Just that date. So your                      10        Q. Did you view the video?
11    testimony is that was the only time that you          11        A. After the fact.
12    ever saw videotape was on that particular --          12        Q. When was it that you viewed the
13          A. No, I saw it. But like I said                13   video of the incident?
14    in an incident like this, on this date where I        14        A. From the owner.
15    have to call 911, besides that, that                  15        Q. In terms of the amount of time,
16    surveillance camera is for our protection.            16   was it the next day or a week later?
17    It's not for...                                       17        A. I don't recall.
18          Q. When you say "our protection"                18        Q. Did you watch the video with
19    who are you referring to?                             19   Mr. Yi?
20          A. Robbery.                                     20        A. I don't remember.
21          Q. Is it for the protection of                  21        Q. Did Mr. Yi tell you to review
22    the --                                                22   the video?
23          A. Establishment.                               23        A. I don't remember.
24          Q. Establishment. What about the                24        Q. You mentioned his name.
25    members of the private club, is it for their          25        A. Because he's the owner.
[3/15/2019] Shin vs YSE                                                                            Pages 33 - 36
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                                                 Page 37                                                Page 39
 1                  SO                                      1                 SO
 2          Q. When did you first become aware              2        Q. How often would he?
 3    of the incident in this case?                         3        A. I don't know. It's a lot of
 4          A. I don't remember.                            4   members. So I don't recall.
 5          Q. Were you at the location during              5        Q. But you recall that you know
 6    the time of the incident?                             6   him?
 7          A. Yes.                                         7        A. I don't know him personally, but
 8          Q. How was it that you were made                8   as a customer, yes.
 9    aware of the incident?                                9        Q. Did you see him when he entered
10          A. Like I said I don't remember.               10   the premises on that evening?
11    It's going back a couple of years, so I don't        11        A. I don't remember.
12    remember.                                            12        Q. I didn't mean to interrupt you.
13          Q. Did you make any report to the              13        A. Like I said. Usually I greet
14    police?                                              14   the customers. But sometimes when I'm doing
15          A. The owner did. I called 911                 15   something, then John.
16    once the incident happened. And then when            16        Q. And John would greet them?
17    they came, the owner came and then the owner         17        A. Yes.
18    took over.                                           18        Q. Do you have a recollection on
19          Q. So you called 911; is that                  19   that night which was the 21st of April 2017
20    correct?                                             20   whether you greeted the customers?
21          A. Correct.                                    21        A. I don't remember.
22          Q. What caused you to call 911?                22        Q. Are you familiar with a person
23          A. When Mr. Shin was down the                  23   by the name of Chung Kai Lee?
24    stairs.                                              24        A. I think they were together.
25          Q. After he fell down the stairs?              25   That group.
                                                 Page 38                                                Page 40
 1                  SO                                      1                SO
 2         A. Correct.                                      2        Q. When you say that group, you
 3         Q. And did you see that happen?                  3   mean with Mr. Young Lee?
 4         A. No.                                           4        A. Young Lee.
 5         Q. So how did you find out that he               5        Q. Do you know who else was in that
 6    had fallen down the stairs?                           6   group?
 7         A. Like I said, I don't remember.                7        A. No, I don't remember. I don't
 8    But I ended up going to the incident and then         8   know.
 9    I saw a guy on the floor.                             9        Q. Do you know an individual by the
10         Q. At that time, did you have any               10   name of Daniel Park?
11    interaction with any of the other persons that       11        A. I don't know.
12    were involved in the incident?                       12        Q. Do you know an individual by the
13         A. I don't remember.                            13   name of Ed shin?
14         Q. Are you aware of a person by the             14        A. Edward Shin?
15    name of Young Lee?                                   15        Q. Edward Shin?
16         A. Yes.                                         16        A. That's the guy who fell.
17         Q. How are you familiar with him?               17        Q. Yes. Did you know him?
18         A. He's a customer.                             18        A. Personally, no. As a customer,
19         Q. Is he a member of the club?                  19   yes.
20         A. Yes.                                         20        Q. Did you know him by sight?
21         Q. Did you know him by sight?                   21        A. He comes time to time to drink.
22         A. No.                                          22        Q. Did you greet him when he
23         Q. He was a member of the club?                 23   entered the premises on the evening of --
24    Did he regularly visit YS2?                          24        A. I wouldn't remember.
25         A. Regularly, no.                               25        Q. Let me finish my question for
[3/15/2019] Shin vs YSE                                                                           Pages 37 - 40
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                                                Page 41                                                  Page 43
 1                  SO                                     1                SO
 2    the record.                                          2      A. No, but this kind of receipts.
 3             Do you recall if you greeted                3      Q. Receipts?
 4    Mr. Shin on the evening of April 21st, 2017?         4      A. Yeah.
 5         A. I don't remember.                            5      Q. Exhibit C is also dated
 6         Q. On the evening of April 21st,                6 April 21st, do you see that?
 7    did you see Mr. Shin at any time during that         7      A. Yes.
 8    evening before he fell?                              8      Q. Do you know what persons were in
 9         A. I don't remember.                            9 the room that's reflected on Exhibit C?
10         Q. Do you have a recollection as to            10      A. I don't remember.
11    whether you saw Mr. Young Lee at any time           11      Q. During the night of April 21st
12    during the night of the 21st and then into the      12 into the early morning hours of April 22nd,
13    22nd of April?                                      13 2017, did John Lee inform you that any of the
14         A. I don't remember.                           14 patrons might have been intoxicated?
15         Q. Do you have a recollection of               15      A. I don't remember.
16    whether you saw Mr. Chung Kai Lee on that           16      Q. Did you talk with Mr. Lee after
17    evening?                                            17 the incident?
18         A. I don't remember.                           18          MS. BERKOWITZ: That night
19         Q. Would the same be true for                  19      or to this time?
20    Daniel Park?                                        20          MR. COHEN: Yeah, to this
21         A. Correct.                                    21      time.
22         Q. I think there's also somebody by            22 BY MR. COHEN:
23    the name of Mr. Horn? Is that somebody that         23      Q. Since that happened, did you
24    you're familiar with?                               24 talk to Mr. Lee?
25         A. No.                                         25      A. About the incident or what
                                                Page 42                                                  Page 44
 1                 SO                                      1                 SO
 2         Q. Now, on the night in question,               2   happened that night?
 3    did John Lee bring alcoholic beverages to the        3        Q. Yes, about what happened that
 4    rooms that Mr. Shin and Mr. Lee were in?             4   night.
 5         A. Did he bring the alcohol that                5        A. Yeah, we spoke.
 6    they ordered?                                        6            MS. NICOLAOU: Just for the
 7         Q. Yes.                                         7        record, John Lee.
 8         A. Yeah, he brought it to the room.             8            THE WITNESS: John Lee.
 9         Q. Did he also bring the food that              9            MR. COHEN: John Lee.
10    was ordered?                                        10        Q. What did Mr. John Lee tell you
11         A. Correct.                                    11   about the incident?
12         Q. Do you know how many times                  12        A. I don't remember.
13    Mr. Lee was in the room that's reflected on         13        Q. Did you tell him anything about
14    Exhibit B?                                          14   the incident?
15         A. I don't know.                               15        A. I don't remember.
16         Q. I like to show you what was                 16        Q. Do you know where John Lee is
17    previously marked as Exhibit C.                     17   currently working?
18             MS. NICOLAOU: Was marked                   18        A. No.
19         February 1, 2019.                              19        Q. Have you had any contact with
20         Q. Sir, I like you to take a look              20   him since YS2 stopped operating?
21    at what has been marked as Exhibit C.               21        A. A couple of times.
22             Have you seen this document                22        Q. When was the last time that you
23    before?                                             23   had contact with him?
24         A. This document itself?                       24        A. Over a month ago.
25         Q. Yes.                                        25        Q. Have you talked with him about
[3/15/2019] Shin vs YSE                                                                          Pages 41 - 44
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                                                 Page 45                                                    Page 47
 1                   SO                                     1                  SO
 2    this lawsuit?                                         2        record will speak for itself.
 3          A. No.                                          3        A. What is your question now?
 4          Q. Are you friends with Mr. Lee?                4        Q. My question is, what is the
 5          A. Yes.                                         5   basis for your testimony that Mr. Shin was
 6          Q. Do you know where Mr. Lee lives?             6   intoxicated that night?
 7          A. I know where he lives, but I                 7        A. It was from John.
 8    don't know his address.                               8        Q. From John Lee?
 9          Q. What part of town does he live               9        A. Hmm, hmm.
10    in?                                                  10        Q. What did John Lee tell you?
11          A. Flushing/Bayside. I guess the               11        A. Well, this was after the effect.
12    border.                                              12   That Mr. Shin was -- he was intoxicated.
13              MR. COHEN: Off the record.                 13        Q. So John Lee told you after
14              (Discussion is held off the                14   Mr. Shin fell that Mr. Shin had been
15          record.)                                       15   intoxicated?
16          Q. Just a couple of questions for              16        A. No, before he fell.
17    you.                                                 17        Q. John Lee told you before
18              On the evening of April 21st,              18   Mr. Shin fell that Mr. Shin was intoxicated?
19    April 22nd, 2017, did you have any                   19            MS. BERKOWITZ: No. It's
20    recollection of seeing Edward Shin                   20        confusing.
21    intoxicated?                                         21        A. State it again?
22          A. Yes.                                        22        Q. First of all these questions
23          Q. You did?                                    23   were only pertaining to before Mr. Shin fell.
24          A. Yes.                                        24   Okay.
25          Q. Can you explain when you saw him            25            Before he fell, did John Lee
                                                 Page 46                                                    Page 48
 1                  SO                                      1                  SO
 2    intoxicated?                                          2   tell you that Mr. Shin was intoxicated?
 3         A. John is the one who informed me.              3         A. What I recall is John said that
 4    But it's going back so long ago, I don't              4   Mr. Shin was intoxicated.
 5    remember.                                             5         Q. When did he tell you that?
 6         Q. Let's take this piece by piece.               6         A. While -- I don't remember
 7              Did you actually see Mr. Shin               7   exactly when, but in that time that --
 8    intoxicated on that evening?                          8   sometime I guess when they were leaving that
 9              MS. BERKOWITZ: You mean                     9   he was intoxicated.
10         after the incident?                             10         Q. So that would have been in the
11              MR. COHEN: No, before the                  11   early morning hours of April 22nd?
12         incident.                                       12         A. I believe so.
13         Q. Before the incident.                         13         Q. And John Lee told you before
14         A. Well, I knew because of John.                14   Mr. Shin fell?
15    Because...                                           15         A. I think so.
16         Q. You're talking about John Lee?               16         Q. What did you do when he told you
17         A. Yes.                                         17   that?
18         Q. I thought earlier, sir, that you             18         A. Then what I do before he told
19    testified you had no recollection of whether         19   me? That's what -- can you rephrase it?
20    or not John Lee told you any patron was              20         Q. My question is, after Mr. Lee
21    intoxicated that night?                              21   told you that Mr. Shin was intoxicated, what
22         A. No. Like --                                  22   did you do?
23         Q. Is your memory coming back?                  23         A. No, but that's when he was
24              MS. BERKOWITZ: You asked                   24   leaving.
25         him a different question. The                   25         Q. So --
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                                                Page 49                                                 Page 51
 1                  SO                                     1                  SO
 2         A. You could tell -- so when -- I               2        A. Yes, he was there.
 3    guess when he was leaving, you could tell if a       3        Q. Was he drinking alcoholic
 4    person is intoxicated by their walk.                 4   beverages that night?
 5         Q. Was Mr. Young Lee intoxicated on             5        A. Was he what?
 6    the evening of April 21st and 22nd?                  6        Q. Was he drinking alcoholic
 7         A. No.                                          7   beverages that night at YS2?
 8         Q. But you said that you did not                8        A. He was in one of the rooms.
 9    have a recollection of seeing Mr. Young Lee?         9            MS. BERKOWITZ: But he's
10         A. No, when the cops came.                     10        asking if you specifically know if
11         Q. I'm not talking about when the              11        he was drinking.
12    cops came. I'm talking about before the --          12            THE WITNESS: No, I don't
13         A. I didn't see him. I obviously               13        know if was -- he was in the room.
14    saw him when the cops came to arrest him.           14        Like I said, I don't know what's
15         Q. At that time?                               15        going on in the room.
16         A. He was talking to the cops. He              16        Q. Can you take a look at Exhibit
17    wasn't intoxicated.                                 17   C. I'm going to represent to you that
18         Q. Did Mr. John Lee tell you that              18   Mr. Young Lee was in that room.
19    Mr. Young Lee was intoxicated that night?           19            Does that refresh your
20         A. He wasn't intoxicated.                      20   recollection that he was drinking alcoholic
21         Q. My question is, did Mr. Lee tell            21   beverages at YS2 on that evening?
22    you that he was intoxicated?                        22        A. I don't know.
23         A. If he was, he would have let me             23        Q. Earlier you testified that if
24    know.                                               24   Mr. John Lee saw a patron that was intoxicated
25         Q. So you have a recollection that             25   that he would inform you?
                                                Page 50                                                 Page 52
 1                  SO                                     1                  SO
 2    Mr. John Lee told you that Mr. Shin was              2         A. Correct.
 3    intoxicated, correct?                                3         Q. And during the two and a half
 4         A. Correct.                                     4   years that you worked at YS2, how many times
 5         Q. You also have a recollection                 5   did John Lee inform you that the patron might
 6    that John Lee never told you that Mr. Young          6   be intoxicated?
 7    Lee was intoxicated; is that also correct?           7         A. I think I answered that question
 8         A. Well --                                      8   before.
 9             MS. NICOLAOU: I'm going to                  9         Q. Well, I'm asking you again.
10         object to form of the question.                10             How many times during those two
11         Q. Did you understand the question?            11   and a half years did he tell you that a patron
12         A. She said something.                         12   might be intoxicated?
13             MS. NICOLAOU: That's okay.                 13         A. He'll inform me.
14         A. I didn't know.                              14         Q. Sir, my question is, how many
15             MS. BERKOWITZ: Do you not                  15   times during those two and a half years did he
16         understand the question?                       16   tell you that someone might be intoxicated?
17             THE WITNESS: Yeah.                         17         A. How many times he informed me?
18         A. Because you're telling me one               18         Q. Yes.
19    thing and then you're telling me a different        19         A. He'll tell me that -- like the
20    thing. Confusing me.                                20   thing is if somebody is intoxicated, he'll let
21         Q. I certainly don't want to                   21   me know. And I answered that question before.
22    confuse you.                                        22         Q. And you told me that he did tell
23             Do you know if Young Lee was               23   you that Mr. Shin was intoxicated, correct?
24    present at YS2 on the night of April 21st,          24         A. Yeah, but as he's leaving.
25    April 22nd, 2015?                                   25         Q. My question is, during the two
[3/15/2019] Shin vs YSE                                                                           Pages 49 - 52
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                                                Page 53                                                  Page 55
 1                   SO                                    1                   SO
 2    and a half years that you were the manager at        2   trying to clarify, I never had an incident
 3    YS2, did John Lee tell you that anybody other        3   where I had to call 911. So that's what I
 4    than Mr. Shin was intoxicated in that two and        4   tried telling you. But you asked me the same
 5    a half year period?                                  5   question.
 6         A. He told me, but not to the                   6         Q. Well, I'm trying to get an
 7    extent of something like this where I have to,       7   answer.
 8    you know, not serve alcohol.                         8              So other than the situation
 9         Q. So if I understand your                      9   where you had to call 911, did you ever have a
10    testimony correctly, Mr. Lee informed you on        10   situation where Mr. John Lee told you that a
11    least one other occasion that a patron might        11   person at YS2 might be intoxicated?
12    be intoxicated, but you never had to stop           12         A. You got to repeat. My phone got
13    serving the patron alcohol?                         13   me distracted. Can you repeat it?
14         A. I don't think you asked me that             14              MR. COHEN: Can you read the
15    question.                                           15         question back?
16         Q. Well, you said that Mr. Lee                 16              (The record is read back by
17    would tell you if someone was intoxicated.          17         the reporter.)
18         A. He'll inform me.                            18         A. I don't recall, but as I was
19         Q. Inform you.                                 19   telling you that's the part of his job to see
20         A. Yes.                                        20   if somebody is intoxicated. Going back two
21         Q. I take it that he informed you              21   years.
22    by talking to you?                                  22         Q. So his job was to tell you if
23         A. He'll tell me and then it's my              23   someone was intoxicated, correct?
24    decision if I should serve more alcohol or          24         A. Correct. I answered that
25    not.                                                25   question before.
                                                Page 54                                                  Page 56
 1                    SO                                   1                   SO
 2          Q. My question is, other than                  2         Q. And your testimony today is that
 3    Mr. Shin, how many other people did Mr. Lee          3   you have no recollection if he ever told you
 4    tell you might be intoxicated?                       4   that anybody was intoxicated?
 5          A. I don't recall.                             5         A. I see so many of them.
 6          Q. But I believe you testified that            6         Q. You see so many of what?
 7    you never had a situation where you --               7         A. Of customers.
 8          A. I never did.                                8         Q. Of intoxicated customers?
 9          Q. Let me finish. Then you can                 9         A. No, customers.
10    answer.                                             10         Q. You just don't remember?
11              I believe you testified that you          11         A. This is going back two years, so
12    never had a situation, other than with              12   I apologize. It's going back so long. If you
13    Mr. Shin, where you had to tell Mr. Lee not to      13   told me if it happened last weekend, I can be
14    serve the patron anymore alcohol?                   14   more specific, but it's going back so long.
15              MS. BERKOWITZ: No, no.                    15         Q. I just want to ask you about one
16          That's not what's going on. He                16   last thing here just so that I'm clear as to
17          said when they were leaving. They             17   what your testimony is.
18          were leaving for the night                    18             Regarding Mr. Shin, when --
19          already. They were done.                      19   first of all when did you call 911?
20              MR. COHEN: Okay.                          20         A. When he fell on the stairs.
21          Q. So is that what you meant by you           21         Q. And do you know what time that
22    never had a situation like that when they were      22   was?
23    already done drinking and that person was           23         A. I don't remember what time it
24    intoxicated, is that what you are telling us?       24   was at.
25          A. Your question is -- what I'm               25         Q. YS2, was it open to 4:00 in the
[3/15/2019] Shin vs YSE                                                                            Pages 53 - 56
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                                              Page 57                                                Page 59
 1                   SO                                  1                SO
 2    morning?                                           2 you're asking I had to give a statement, no.
 3         A. Correct.                                   3      Q. Did the police ever contact you?
 4         Q. Did you call 911 after the YS2             4      A. No.
 5    closed or was it still open?                       5          MR. COHEN: Thank you.
 6         A. Still open.                                6      That's all the questions I have.
 7         Q. When during that evening did               7 EXAMINATION BY MS. NICOLAOU:
 8    John Lee tell you that Mr. Shin might be           8      Q. Good afternoon, Mr. So.
 9    intoxicated?                                       9          How are you?
10         A. On that evening?                          10      A. Good.
11         Q. Yes.                                      11      Q. My name is Carmen Nicolaou. I
12         A. No. After the fact he told me             12 represent several defendants in this action
13    the situation that he was intoxicated.            13 that was commenced by Mr. Edward Shin. I'm
14         Q. I see. So he didn't tell you on           14 just going to be asking you some followup
15    the night of the incident. He told you after      15 questions. I'm going to try not to repeat
16    the incident?                                     16 some of the questions that were previously
17         A. Yes. So when he went out, he              17 asked by Mr. Cohen. Of course same rules
18    saw him intoxicated. And then what I recall,      18 apply. If you don't understand a question,
19    is when the cops came to arrest young Lee for     19 let me know and I'll be happy to rephrase it.
20    kicking Shin. But he was perfectly sober. So      20 If you answer, I can only assume that you
21    your question is like --                          21 understood it. And just wait until I finish
22         Q. You're talking about Mr. Lee was          22 asking the question before answering it, okay?
23    sober?                                            23      A. Yes.
24         A. Right.                                    24      Q. Now, do you know how long YS2
25         Q. But Mr. Shin was seriously hurt,          25 has been in business?
                                              Page 58                                                Page 60
 1                    SO                              1                    SO
 2    is that fair to say? I mean could you tell      2           A. No, I don't.
 3    from looking at Mr. Shin whether he was         3           Q. When you started at YS2, I
 4    intoxicated or not that's why he fell down the  4      believe you testified about two and a half
 5    stairs?                                         5      years ago.
 6         A. No. Because at that moment I            6              Do you know whether the business
 7    went to call 911.                               7      was open or had been open for a period of
 8         Q. How long after you called 911           8      time?
 9    was it before they arrived at the scene?        9           A. I don't know that.
10         A. I don't remember. Probably             10           Q. I know there was some confusion
11    quick. Usually they take quick.                11      about who was responsible for what, questions
12         Q. Before 911 arrived, did you go         12      and answers. So I'm just going to clarify. I
13    to the landing where Mr. Shin had fallen?      13      just need clarification on some things.
14         A. No.                                    14              You were the manager of YS2,
15         Q. Where did you go after you             15      right?
16    called 911?                                    16           A. Yes.
17         A. Well, 911. Then I called Mr. Yi        17           Q. And your job was to just handle
18    to come. Once he came then the cops came and 18        the day-to-day operations of the business?
19    arrested him. That's when Mr. Yi took over.    19           A. Yes.
20         Q. What did you do after that?            20           Q. Mr. Yi the owner of the company.
21         A. Whatever I had to do in the            21      Was he there on a daily basis?
22    back.                                          22           A. He comes time to time.
23         Q. Were you asked to give a               23           Q. What were the hours of YS2?
24    statement by the police?                       24      When was it open for business?
25         A. That was Mr. Yi. Not me. If            25           A. 8 to -- in the week it closed
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                                               Page 61                                                Page 63
 1                   SO                                   1                 SO
 2    early, but usually 8 to 4.                          2        Q. Sunday it was always closed?
 3         Q. Is that 8:00 p.m.?                          3        A. Yes.
 4         A. Correct.                                    4        Q. And depending on how many
 5         Q. When do you normally arrive to              5   reservations YS2 would get in advance of
 6    work?                                               6   opening, would depend on whether you actually
 7         A. Arrive around 7.                            7   opened for business on the days you were
 8         Q. And it was open seven days a                8   scheduled to open for business, is that fair
 9    week?                                               9   enough?
10         A. No.                                        10        A. Correct.
11         Q. What were --                               11        Q. Now, during the week with the
12         A. It opens -- sometimes we now               12   exception of Friday, what were the hours?
13    open depending on -- we have to wait for           13        A. Eight to three.
14    customers, then we'll open.                        14        Q. So you just closed an hour
15         Q. When is that decision made?                15   early, correct?
16         A. Decision made by reservation.              16        A. Correct.
17         Q. So is it fair to say that people           17        Q. Other than handling the
18    who plan to go to YS2 or plan to go to YS2         18   operations of the business, did you also
19    would have to call and make a reservation?         19   handle the general day-to-day maintenance of
20         A. Correct.                                   20   the space? In other words, if a light bulb is
21         Q. Would they also just show up?              21   out, replace a light bulb. If a doorknob was
22         A. Usually it's called, because if            22   broken, replace a doorknob was that your
23    there's only like one room, then it's not          23   responsibility?
24    worth opening the operation.                       24        A. Well, I call the mechanic. I
25         Q. Other than making a decision to            25   don't do it myself, but I call somebody to
                                               Page 62                                                Page 64
 1                  SO                                    1               SO
 2    close for the night, because you don't have         2   replace.
 3    enough reservations, what were the general          3         Q. You call somebody to replace?
 4    hours of YS2?                                       4         A. Like a vendor.
 5        A. Eight to four.                               5         Q. I see. Would Mr. Yi, the owner
 6        Q. What days of the week?                       6   of the business, also be responsible for the
 7        A. Eight to four is on a weekend.               7   day-to-day maintenance of the space?
 8        Q. So Saturday and Sunday?                      8         A. Well, I'll inform him.
 9        A. No, no. Well, I mean Friday and              9         Q. So if something is broken at
10    Saturday.                                          10   YS2, what would you do?
11        Q. Friday and Saturday.                        11         A. I would inform him and he'll say
12        A. Sunday we don't open.                       12   call whatever and I'll call.
13        Q. Let's try this again.                       13         Q. Do you know a person by the name
14             Was YS2 generally open for                14   of Mitchel Wang?
15    business on a Monday?                              15         A. Mitchel Wang? No.
16        A. Yes.                                        16         Q. What about Terrence Wu?
17        Q. What about a Tuesday, same                  17         A. No.
18    question?                                          18         Q. What about Debra Wang?
19        A. Yes.                                        19         A. No.
20        Q. Thursday?                                   20         Q. Also known as Deh-Jung I believe
21        A. Yes.                                        21   it's pronounced?
22        Q. Wednesday?                                  22         A. No.
23        A. Yes.                                        23         Q. Have you dealt with anyone who
24        Q. Friday and Saturday?                        24   represented themselves to be either the owner
25        A. Yes.                                        25   of the property where YS2 operated its
[3/15/2019] Shin vs YSE                                                                         Pages 61 - 64
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                                                Page 65                                                  Page 67
 1                     SO                                  1                 SO
 2    business or representing the owner of the            2        Q. Is there a minimum fee for this
 3    property?                                            3   table service?
 4           A. Can you repeat that question?              4        A. It depends on the room.
 5           Q. Let me break it up. I get why              5        Q. Depends on the size of the room?
 6    it's confusing. I'll withdraw the question.          6        A. Size of the room and the party.
 7    I'll re-ask it differently.                          7        Q. Fair enough. What is the lowest
 8              In your two and a half years at            8   minimum fee that was charged by YS2?
 9    YS2, did you ever interact with someone who          9        A. The lowest fee is like $150.
10    identified themselves as the owner of the           10        Q. Is that per hour or just flat?
11    property where YS2 operated?                        11        A. Per hour.
12           A. No.                                       12        Q. What is the highest that has
13           Q. In the two and a half years that          13   been charged?
14    you worked for YS2, have you ever spoken to         14        A. The highest -- from the years I
15    anyone who represented themselves as                15   worked the highest -- I don't think I did the
16    representing the owners of the property where       16   highest, because that holds over 20. It's a
17    YS2 operates?                                       17   big room, so I can't say that I never did.
18           A. No.                                       18        Q. With every room rental, does
19           Q. Okay. I know you were asked               19   that room rental fee cover anything other than
20    questions about Mr. Young Lee and John Lee.         20   just simply the room? In other words, does it
21    Forgive me with all the last names being so         21   cover fruit. Does it cover soda? Does it
22    similar in some way or another. I'm just            22   cover anything like that?
23    going to go with first names. So if I say           23        A. Each item is charged.
24    Young, we know it's Young Lee, fair enough?         24        Q. So the $150 is strictly for the
25           A. Fair enough.                              25   room?
                                                Page 66                                                  Page 68
 1                  SO                                     1                  SO
 2         Q. If I say John, we know John Lee.             2        A. Room.
 3    I don't want to confuse the two. Is that good?       3        Q. On top of that charge, is there
 4    Fair enough?                                         4   what I would refer to, tell me if you don't
 5         A. Good.                                        5   understand what that means, a table fee?
 6         Q. John was the waiter for YS2?                 6        A. Table fee?
 7         A. Yes.                                         7        Q. Okay.
 8         Q. And if I understand your                     8        A. That's the room fee.
 9    testimony correctly, that John would bring in        9        Q. That's the room fee?
10    the items into the individual rooms?                10        A. Okay.
11         A. Yes.                                        11        Q. Let me ask it differently then.
12         Q. This was a table service                    12            What if anything is included in
13    establishment?                                      13   the room fee other than the room itself?
14         A. Yes.                                        14        A. Everything is included in the
15         Q. Could you please describe or                15   room fee. And then if they want food, then
16    explain what a table service is?                    16   put on the bill.
17         A. Table service is when the                   17        Q. So --
18    customer comes in and they ask for a specific       18        A. So the room fee is the size of
19    drink or food, then we'll bring it to them and      19   the room. That's the charge.
20    leave it there.                                     20        Q. Earlier you testified that soda
21         Q. In other words, and just to be              21   is not charged?
22    clear, they can't order individual drinks.          22        A. Yeah, Soda is not charged.
23    They would have to order bottles, is that           23        Q. Is that a part of the room fee?
24    right, as a part of the table service?              24        A. Well, you could say that, yeah.
25         A. Correct.                                    25        Q. In other words, is it
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                                               Page 69                                                Page 71
 1                    SO                                  1                  SO
 2    automatically provided with every room?             2         A. Yes, couch.
 3          A. Yes. Soda, yeah.                           3         Q. How many couches?
 4          Q. Is that something that's brought           4         A. It's like one.
 5    into the room with other items or is it             5         Q. L-shape couch?
 6    something that's always in the room?                6         A. Like one full couch. Like an
 7          A. In the room.                               7   L-shape.
 8          Q. Soda?                                      8         Q. L-shape couch. Can you describe
 9          A. In the room.                               9   the dimensions of the room? What was the size
10          Q. How is it in the room? Is there           10   of it approximately? I don't expect you to
11    a refrigerator in the room?                        11   know it.
12          A. No, just outside.                         12         A. No.
13          Q. Mr. Shin, when he testified at            13         Q. Was room two considered an
14    his deposition, he identified the rooms in         14   average room, a small room, large room
15    numbers; one and two.                              15   compared to the other rooms at YS2?
16             Is that how YS2 identified the            16         A. Average.
17    room; room one, room two?                          17         Q. Now, you said there's a L-shaped
18          A. Correct.                                  18   couch. Is there a table?
19          Q. Mr. Shin, I believe testified,            19         A. Yes.
20    that the first room he entered that night was      20         Q. Is this a coffee table or is
21    room two. And then he left and went into room      21   this like a dining room table? What kind of
22    four.                                              22   table was it?
23             So by saying that, does that              23         A. Something like this.
24    tell you which rooms, based on you working         24         Q. Like a conference room table?
25    there for two and a half years, does that give     25         A. Yes.
                                               Page 70                                                Page 72
 1                  SO                                    1               SO
 2    you an idea which rooms he would have been in       2          Q.
                                                                      So the height of a standard
 3    based on his testimony?                             3   table?
 4         A. Yes.                                        4          A. It's low.
 5         Q. So let's go into room two. Room             5          Q. But it was long?
 6    two was the first room that Mr. Shin testified      6          A. Yes. It's not that long as this
 7    he entered that night.                              7   but...
 8             Could you describe it to me?               8          Q. Could you describe to me the
 9    How many people could fit in room two? What's       9   length of that table?
10    inside room two and so forth?                      10          A. From that end to like in the
11         A. I don't know what room he was in           11   middle.
12    specifically.                                      12          Q. Could you approximate how big
13         Q. I'm telling you, sir, he was in            13   that table is? If I said it's about ten feet,
14    room two.                                          14   does that sound right?
15             Could you describe to me what             15          A. Yes.
16    room two looked like?                              16          Q. Give or take a foot or less?
17         A. Room two could fit up to eight             17          A. Yes.
18    people.                                            18          Q. So that's what's in room two.
19         Q. What is in room two or was in              19             So it fits eight people, TV,
20    room two back in April of the year 2017? What      20   karaoke machine, sodas, L-shape couch, and the
21    was physically in room two during that time?       21   table conference room type rectangular table.
22         A. TV, karaoke machine, sodas and             22   Is it low to the ground or higher up?
23    table.                                             23          A. Lower.
24         Q. Was there a place for them to              24          Q. So is it the height of a coffee
25    sit?                                               25   table or general height of a coffee table?
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                                                Page 73                                                  Page 75
 1                  SO                                     1                  SO
 2         A. Yeah.                                        2         Q. In this case we're looking at
 3         Q. So you can reach it?                         3   Defendant's Exhibit C dated February 1, 2019.
 4         A. Because when you sit on the                  4   This guest receipt has Johnnie Walker Blue, so
 5    couch, so it's like leveled.                         5   that's what was ordered.
 6         Q. So a person goes in and says, I              6         A. If that's what it says.
 7    want room two or I'm reserving a room. So you        7         Q. Let's go down this.
 8    hold that room for them.                             8         A. I mean if that's what it says,
 9             Are they given an opportunity to            9   then it's correct.
10    order anything first or is there something          10         Q. In this one it shows that a
11    that's automatically brought to them before an      11   fruit plater was ordered?
12    order is placed?                                    12         A. Correct.
13         A. They place the order.                       13         Q. And meatballs?
14         Q. So you know how you go to a                 14         A. Correct.
15    restaurant sometimes and they're always             15         Q. What kind of meatballs?
16    bringing bread and butter?                          16         A. Some meatballs.
17         A. Yes.                                        17         Q. Like regular meatballs?
18         Q. Is there something, not                     18         A. Yes.
19    necessarily bread and butter, is there              19         Q. Just curious.
20    something similar to that with a room, water        20             And chicken; is that right?
21    and ice?                                            21         A. Yes.
22         A. Water and soda.                             22         Q. Shows like the meal. In this
23         Q. Water and soda. Is that                     23   situation looks like Johnnie Walker Blue was
24    automatically brought in before an order is         24   ordered. Okay?
25    placed?                                             25         A. Okay.
                                                Page 74                                                  Page 76
 1                    SO                                   1               SO
 2          A.  It's on the table before they              2       Q.   And several pieces of several
 3    come.                                                3   items.
 4          Q. So is the room prepared in                  4            Now, do you know if they were
 5    advance of them coming?                              5   all ordered at the same time?
 6          A. No, every room has basic soda               6        A. I don't know that.
 7    and water.                                           7        Q. You don't know the order of --
 8          Q. So if a room is reserved, do you            8        A. If depends on the customer.
 9    prepare that room with soda and water? Or is         9   They could order one thing. 20 minutes later
10    it always in there no matter what?                  10   or 30 minutes later they can order another
11          A. Always in there.                           11   thing.
12          Q. Do you do anything to the room             12        Q. So who prepares these checks,
13    once a reservation is made --                       13   these guest checks?
14          A. No.                                        14        A. John. John Lee.
15          Q. -- to prepare it before people             15        Q. Is your handwriting on any
16    arrive?                                             16   portion of Defendant's Exhibit C dated
17          A. No.                                        17   February 1, 2019?
18          Q. So they walk in. They get into             18        A. No.
19    their seats. Are they given a menu?                 19        Q. I'm going to ask the same
20          A. The menu -- they didn't get the            20   question for Defendant's Exhibit B dated
21    menu, but they'll tell the waiter what they         21   December 1st, 2009. Is your handwriting on
22    want.                                               22   any of these?
23          Q. At that point they order drinks            23        A. No.
24    in the form of bottles; is that right?              24        Q. Are you shown these checks at
25          A. Correct.                                   25   all by John Lee during the night when they're
[3/15/2019] Shin vs YSE                                                                            Pages 73 - 76
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                                                Page 77                                                 Page 79
 1                   SO                                    1                SO
 2    in business?                                         2       A.   He opens it and he leaves it.
 3         A. Those are given to the owner.                3       Q.   And he leaves it and he walks
 4    So I guess end of the night gets to the owner.       4   out?
 5         Q. Who collects payment?                        5        A. Correct.
 6         A. John.                                        6        Q. Is it the customers that create
 7         Q. When he collects payment, where              7   or make their own drinks?
 8    does he go to deliver the payment that he is         8        A. That's on the customer however
 9    collected?                                           9   they want to drink, it's up to them.
10         A. Where does he put it?                       10        Q. So they pour their own drinks?
11         Q. Yes.                                        11        A. Yes.
12         A. In the drawer.                              12        Q. Just so we're clear.
13         Q. In the drawer?                              13        A. Yes.
14         A. The cash drawer.                            14        Q. Mr. Lee does not?
15         Q. Are you involved in that process            15        A. No.
16    collecting the payment from John and putting        16        Q. What if a bottle wine is
17    it away in the cash drawer?                         17   ordered? Let me ask you this. You have a
18         A. No. John, he handles all that.              18   look of confusion on your face. Does YS2 offer
19         Q. He handles all of that?                     19   wine?
20         A. Correct.                                    20        A. Wine, no.
21         Q. Mr. Shin testified that when he             21        Q. So what kind of alcohol does YS2
22    arrived in room two, there was a bottle of          22   offer? Just hard liquor?
23    Johnnie Walker Blue, okay, or black. This is        23        A. Liquor, champaign.
24    room two. I'm looking at the wrong receipt.         24        Q. Does the same rule apply to
25             If a bottle of black whisky was            25   champaign, he opens a bottle and Mr. Lee puts
                                                Page 78                                                 Page 80
 1                  SO                                     1                 SO
 2    ordered? That's whiskey? I got my alcohol            2   it down and leaves?
 3    right?                                               3         A. Correct.
 4         A. Yes.                                         4         Q. Is beer offered?
 5         Q. If a bottle of black whiskey was             5         A. Yes.
 6    ordered along with fruit plater, plater of           6         Q. What kind of beer was offered by
 7    meatballs which is depicted on Defendant's           7   YS2?
 8    Exhibit B, date February 1, 2019, how is it          8         A. Corona. Heineken.
 9    delivered to them? Like how is it assembled?         9         Q. How is it offered? In can?
10    How is it delivered?                                10   Bottles?
11         A. On a plater. Like food. Dish                11         A. Bottle.
12    plater.                                             12         Q. All bottles?
13         Q. Are the foods on individual                 13         A. Yeah.
14    platers?                                            14         Q. If someone requested beer to be
15         A. Yes.                                        15   brought into the room in addition to Johnnie
16         Q. Is everything put on like a cart            16   Walker Blue or Black or some other liquor, no
17    all at once or are they delivered?                  17   matter what, would that also be charged?
18         A. Hand delivered.                             18         A. Correct.
19         Q. Hand delivered by Mr. Lee?                  19         Q. And would that also appear on
20         A. Correct.                                    20   the check?
21         Q. How is the alcohol delivered?               21         A. Correct.
22         A. Hand delivered.                             22         Q. What was the cost of the beer?
23         Q. Is the bottle brought -- what is            23         A. The cost of the beer we charge
24    the procedure? Mr. Lee brings a bottle into         24   like five.
25    the room?                                           25         Q. $5?
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                                              Page 81                                                 Page 83
 1                  SO                                   1                  SO
 2         A. $5.                                        2   I keep screwing up my own rule. Chung Lee,
 3         Q. A bottle?                                  3   from what I understand, through a company,
 4         A. A bottle.                                  4   purchased the property after the accident.
 5         Q. Is that across the board or is             5             Do you know what the person
 6    it depending on the type of beer?                  6   looks like who owns Picnic Gardens?
 7         A. Type of beer.                              7         A. No.
 8         Q. What was charged for Coors                 8         Q. Do you know what the person
 9    Light?                                             9   looks like who owns the property where Picnic
10         A. Say that again?                           10   Garden and YS2 are located?
11         Q. What was charged for Coors                11         A. No.
12    Light?                                            12         Q. If there were any complaints
13         A. Coors Light we charge like four.          13   about certain parts of the establishment, and
14         Q. You were going to say something?          14   I'm referring to YS2, would those be brought
15         A. No.                                       15   directly to you?
16         Q. Is there ever a situation where           16         A. Complaints in what way?
17    beer is included in the package --                17         Q. Well, let's just say if somebody
18         A. No.                                       18   trips and falls over some condition of the
19         Q. -- at YS2?                                19   establishment, would that be something that
20         A. No.                                       20   would be brought to your attention?
21         Q. It's always a separate charge?            21         A. Yes, through John.
22         A. Separate charge.                          22         Q. Through John?
23         Q. Is it because it's alcohol?               23         A. Yeah. By trip and fall you mean
24         A. Correct.                                  24   while they're in the room and come out and
25         Q. So you have to pay for the                25   trip and fall?
                                              Page 82                                                 Page 84
 1                  SO                                   1                 SO
 2    alcohol?                                           2         Q. Let me withdraw.
 3         A. Alcohol. They get charged for              3         A. Be more specific.
 4    alcohol and beer they get charged for beer.        4         Q. Fair enough.
 5         Q. We're going to go with Lee                 5            Let me rephrase this question.
 6    number three, Chung Lee.                           6            Have you ever personally
 7             Do you remember being asked if            7   received any complaints about the staircase
 8    you knew who he was?                               8   leading from the first floor once you enter
 9         A. Chung Lee.                                 9   the building up until where YS2 had the space?
10             MS. NICOLAOU: Is it Chung                10         A. No.
11         Lee? Am I getting that right?                11         Q. Have you ever known anyone
12             MS. BERKOWITZ: Yes.                      12   falling down that staircase in the two and a
13         Q. Do you know who Chung Lee is?             13   half years that you worked at YS2?
14         A. No.                                       14         A. Only --
15         Q. Do you know the restaurant known          15         Q. Mr. Shin?
16    as Picnic Gardens?                                16         A. Shin.
17         A. There's a restaurant, but                 17         Q. Have you ever received any
18    downstairs.                                       18   complaints about the lightening condition of
19         Q. If I told you that Mr. Lee                19   that staircase at any time prior to Mr. Shin's
20    appears as the owner of Picnic Gardens, would     20   accident?
21    that refresh your recollection who Mr. Lee        21         A. No.
22    was, Chung Lee?                                   22         Q. Is there lighting on top of that
23         A. I believe he bought the building          23   staircase?
24    or something like that.                           24         A. Yes.
25         Q. Yes. Mr. Lee, Chung Lee got --            25         Q. Could you describe to me what
[3/15/2019] Shin vs YSE                                                                         Pages 81 - 84
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                                                Page 85                                                 Page 87
 1                    SO                                   1                  SO
 2    type of lighting there was?                          2        Q. Could you describe to me what it
 3          A. There was a florescent light.               3   looked like other than steps. Obviously there
 4          Q. Could you describe to me the                4   were steps, right?
 5    lighting conditions on top of that staircase?        5        A. There's steps and then there's a
 6    Let me give you examples, because I know it's        6   -- what do you call it? Like a --
 7    difficult. Just generalize as much as                7        Q. Landing?
 8    possible.                                            8        A. Like a landing and then steps.
 9              Was it a very brightly lit area?           9        Q. Is that how the staircase looked
10    Was it lit like a regular room? Was it dim in       10   like on the date of the accident?
11    like a club setting? However you could              11        A. Yes.
12    describe it.                                        12        Q. I'm going to show you what's
13          A. It was pretty bright.                      13   been marked as Defendant's Exhibit K on
14          Q. Pretty bright.                             14   February 1, 2019. I want you to take a look
15              And was the lighting condition            15   at that. No question. Just take a look at
16    the same on the day of Mr. Shin's accident?         16   that and let me know when you're done.
17          A. I believe so.                              17             MS. NICOLAOU: Would you
18          Q. Now, at any time after                     18        like to look at it?
19    Mr. Shin's accident, was any work done to the       19             MR. COHEN: Yes, I would.
20    staircase itself leading up to YS2?                 20        Q. Exhibit K, could you tell me,
21          A. Prior to the incident?                     21   sir, what this photograph depicts?
22          Q. After Mr. Shin.                            22        A. What this is?
23          A. There was a renovation.                    23        Q. What's shown in the photograph?
24          Q. What was done?                             24   Do you know what's shown in that photograph?
25          A. The stairs.                                25        A. The stairs.
                                                Page 86                                                 Page 88
 1                   SO                                    1                   SO
 2         Q. What was done to the stairs?                 2        Q. What stairs is that?
 3         A. Renovated.                                   3        A. Outside the establishment.
 4         Q. Did they replace the entire                  4        Q. For YS2?
 5    staircase? Did they change it around? What           5        A. And for the third floor.
 6    did they do?                                         6        Q. YS2, how many floors did it
 7         A. They changed it around.                      7   occupy at that property?
 8         Q. How did they do that?                        8        A. For YS2 only?
 9         A. Took out the carpet and put in               9        Q. For YS2 only.
10    more like marble. The stair they changed the        10        A. Second floor.
11    whole thing.                                        11        Q. Just the second floor?
12         Q. The covering of the staircase?              12        A. Yes.
13         A. Before it was covered by --                 13        Q. In order to enter YS2's
14         Q. Carpet?                                     14   establishment, was there a door?
15         A. Carpet. Took everything out and             15        A. Down the stairs.
16    then put in like marble or something.               16        Q. So is there a separate and
17         Q. Did they change the actual                  17   distinct entrance for YS2?
18    staircase itself? In other words, did they          18        A. No. It's a whole -- for the
19    add stairs? Did they take away stairs? Did          19   third floor -- so they could take the stairs
20    they do something to the physical structure of      20   to the third floor too.
21    the staircase?                                      21        Q. Is this a staircase that's going
22         A. No. Not what I recall.                      22   to the YS2 establishment or in other words the
23         Q. Did you use the staircase when              23   second floor?
24    you went to work?                                   24        A. Second enter.
25         A. Yes.                                        25        Q. Sir, let me ask the question.
[3/15/2019] Shin vs YSE                                                                           Pages 85 - 88
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                                                Page 89                                                      Page 91
 1                    SO                                   1                 SO
 2    Hold on.                                             2        A. Yes.
 3              In K, follow me, in Exhibit K,             3        Q. Is there a landing shown in
 4    the staircase that's shown in this photograph,       4   Defendant's Exhibit D, the one that you
 5    is it the staircase between the first floor          5   described before?
 6    and the second floor?                                6        A. Yes.
 7           A. Yeah.                                      7        Q. Is that the landing that is six
 8           Q. I'm not talking about the one              8   steps up from the first floor?
 9    going up to the third.                               9        A. Yes.
10           A. Oh, I thought you meant --                10        Q. After that landing, are the
11           Q. I'm just asking you what's shown          11   steps continuous?
12    here is between the first and second floor?         12        A. There's a gap and then it
13           A. Yes.                                      13   continues.
14           Q. Sir, could you do me a favor and          14        Q. Right. When you say the gap,
15    point to me where the landing is in that            15   just so we're clear, referring to about the
16    staircase?                                          16   landing; is that right?
17           A. Landing of Mr. Shin?                      17        A. Correct.
18           Q. No, no. You testified that                18        Q. After that landing, it's a
19    there were steps and there was a landing.           19   continuous staircase to the second floor,
20           A. The steps (indicating).                   20   right?
21           Q. So just for the record, are you           21        A. Yes.
22    referring to -- I can't even figure how to          22        Q. Were you notified of Mr. Shin's
23    describe this.                                      23   accident?
24              MS. NICOLAOU: Would you                   24        A. At that night, yes.
25           have any objection to marking it?            25        Q. When you were notified of his
                                                Page 90                                                      Page 92
 1                   SO                                    1                   SO
 2             MS. BERKOWITZ: Do you have                  2   accident, did you go to the staircase?
 3         a better one that shows the shot?               3         A. I came out near the door.
 4         A. There's a gap.                               4         Q. Near the door of YS2?
 5         Q. It's a photograph that's been                5         A. Yes.
 6    printed, and I don't want to identify the            6         Q. Did you see Mr. Shin on the
 7    color.                                               7   staircase or down the stairs?
 8             MS. BERKOWITZ: I think                      8         A. He was down the stairs.
 9         there's a better one that shows                 9         Q. Could you tell me, sir, where
10         the landing.                                   10   was he physically when you saw him?
11             MS. NICOLAOU: You're right.                11         A. One, two, three, four, five,
12         Hold on.                                       12   six, in that gap.
13         Q. I'm going to show you what has              13         Q. And you say gap, but we're
14    been marked as Defendant's Exhibit D.               14   referring to --
15             Take a look at that photograph.            15         A. The space.
16    Let me know when you're done. You're done?          16         Q. Landing, gap?
17         A. Done.                                       17         A. I don't know how you refer that.
18         Q. Don't say uh-huh. Use your                  18         Q. You call it gap. I'll call it
19    words.                                              19   gap. But just so the record is clear, we're
20         A. I'm too used to it.                         20   referring to the landing, okay?
21         Q. Just for today try.                         21         A. Yes.
22             So we're looking at Defendant's            22         Q. So Mr. Shin was lying on the
23    Exhibit D. Is this the same staircase that's        23   landing or the gap on that staircase? In
24    shown in Defendant's Exhibit K, but looking         24   other words, just so I'm clear, he wasn't
25    from the first floor up?                            25   physically on the ground on the bottom most of
[3/15/2019] Shin vs YSE                                                                              Pages 89 - 92
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                                                 Page 93                                                 Page 95
 1                  SO                                      1                 SO
 2    the staircase; is that right?                         2       back on the video.
 3         A. Yep. Yes.                                     3            Yesterday, March 14th, we
 4         Q. Just so I'm clear, the only                   4       received what was identified as
 5    changes made to that staircase was the carpet         5       security footage from the YS2
 6    was pulled and marble steps or some kind of           6       location.
 7    stone steps were put in place, the covering?          7            MS. BERKOWITZ: Original.
 8         A. They renovated with the                       8            MS. NICOLAOU: Original
 9    handrails and...                                      9       footage from counsel for YS2. It
10         Q. They renovated the handrails                 10       is in a Drop Box and I'm playing
11    too?                                                 11       it. I'm going to be playing it
12         A. Painting.                                    12       for the witness.
13         Q. In this photograph, in                       13            Can we stipulate that this
14    Defendant's Exhibit D and Defendant's Exhibit        14       is the video that was exchanged
15    K, do you see they show two handrails? Do you        15       yesterday?
16    see the two handrails, sir?                          16            MS. BERKOWITZ: Yes.
17         A. Yes.                                         17            MR. COHEN: Sure.
18         Q. Were there two handrails on the              18            MS. NICOLAOU: Yes.
19    date of the accident?                                19            So-1 will be the video that
20         A. Yes.                                         20       was disclosed yesterday by counsel
21         Q. Were there always two handrails              21       for YS2, and the name of that
22    going up and down that staircase?                    22       video, according to this file is
23         A. I believe so.                                23       190314 video from client.MP4.
24         Q. But just to be clear, on the                 24            (Video was deemed marked So
25    date of the accident, there were two                 25       Exhibit 1 for identification, as
                                                 Page 94                                                 Page 96
 1                    SO                                    1                   SO
 2    handrails; is that right?                             2         of this date March 15, 2019.)
 3          A. What I recall, yes.                          3         Q. Now, Mr. So, in preparation of
 4          Q. Those handrails that are shown               4   today's deposition, did you review any
 5    in Defendant's Exhibit D and K, do they               5   pictures, any documents or any video footage?
 6    accurately depict what the handrails looked           6         A. Did I ever see that?
 7    like on the date of the accident?                     7         Q. Did you see any documents, any
 8          A. What? On the day the accident?               8   video footage, any photographs to prepare for
 9    Repeat that again?                                    9   today's deposition?
10              MS. NICOLAOU: Could you                    10         A. No.
11          read it back.                                  11         Q. Did you see any security footage
12              (The record is read back by                12   that prior to today that captures the incident
13          the reporter.)                                 13   involving Mr. Shin?
14          A. I don't know.                               14         A. No.
15          Q. Does the staircase itself, as               15         Q. So I'm going to --
16    it's pictured in Defendant's D and K, does it        16              MS. BERKOWITZ: She said
17    accurately depict what the staircase looked          17         prior to today.
18    like on the date of the accident?                    18         A. Prior to today? Yeah, after the
19          A. On the day of the accident, yes.            19   effect. I thought you meant recently.
20              MS. NICOLAOU: Let's go off                 20         Q. I'm going to expand this.
21          the record. I just want to get to              21   There's no sound. So I'm going to play this.
22          the video.                                     22   It's about a two minute and 22 second video
23              (Discussion is held off the                23   according to the attachment on my screen. I'm
24          record.)                                       24   going to play it. I just want you to watch
25              MS. NICOLAOU: Let's just go                25   the whole thing. When it's done, I'll just
[3/15/2019] Shin vs YSE                                                                            Pages 93 - 96
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                                               Page 97                                                  Page 99
 1                   SO                                   1                 SO
 2    ask you some questions.                             2        Q. Sir, based on looking at this
 3             (Video being played.)                      3   security footage and comparing it to the
 4         Q. Now, Mr. So, now you had an                 4   photographs that were marked on February 1st,
 5    opportunity to look at this video, right?           5   2019, does that refresh your recollection
 6         A. Yes.                                        6   whether the handrails depicted in these
 7         Q. After looking at it, is this the            7   photographs accurately represent what the
 8    video that you watched prior to today?              8   handrails looked like on the date of the
 9         A. Yes.                                        9   accident?
10         Q. Do you remember when was the               10        A. Yes.
11    last time you saw this video?                      11        Q. And just to be clear, there were
12         A. Two years ago.                             12   two handrails, right, sir?
13         Q. Was it on the very day of the              13        A. Yes.
14    accident?                                          14        Q. And just to be clear, sir, we
15         A. On the accident, no. I think it            15   paused the video one second in. Do you see
16    was a day -- I don't remember.                     16   the landing in this video?
17         Q. It was sometime after the                  17        A. Yes.
18    accident?                                          18        Q. Is that the same landing that
19         A. Correct.                                   19   you identified in Defendant's Exhibit D marked
20         Q. Now, remember when I asked you,            20   on February 1, 2019?
21    Mr. So, if the photographs accurately depict       21        A. From the video, no.
22    how the handrails looked on the day of the         22        Q. I'm sorry?
23    accident, do you remember that question?           23        A. From the video that I saw?
24         A. Yes.                                       24        Q. Sir, is that the same landing?
25             (Video being played.)                     25        A. Yeah, yeah, yeah.
                                               Page 98                                                 Page 100
 1                    SO                                  1                   SO
 2         Q. Now, I pause this video at one              2        Q. Let me re-ask the question.
 3    second, fair enough?                                3             Is that landing, you know the
 4         A. Fair enough.                                4   six steps and then there's that gap or space
 5         Q. In this video, the screen shot              5   as you referred to it and I refer to it as a
 6    where it's paused at one second, does that          6   landing, but we're all talking about the same
 7    show that staircase that we talked about from       7   thing, right? Is that shown in that security
 8    the first floor to the second floor?                8   footage that one second in?
 9         A. Yes.                                        9        A. Yes.
10         Q. Is that the same staircase                 10        Q. Is that the same landing gap
11    that's shown in Defendant's Exhibit K?             11   space, however you want to refer to it as,
12         A. Yes.                                       12   that's depicted in Defendant's Exhibit D
13         Q. And Defendant's Exhibit J?                 13   marked on February 1, 2019?
14         A. Yes.                                       14        A. Yes.
15         Q. Defendant's Exhibit I?                     15        Q. And the carpeting, sir, that's
16         A. Yes.                                       16   depicted in Defendant's Exhibit D, is the same
17         Q. And Defendant's Exhibit H?                 17   carpeting service depicted in the security
18         A. Yes.                                       18   footage that's paused at one second in; is
19         Q. Defendant's Exhibit D?                     19   that right?
20         A. Yes.                                       20        A. Yes.
21         Q. Defendant's Exhibit E?                     21        Q. Now, sir, can you tell me
22         A. Yes.                                       22   whether the lighting conditions shown in this
23              MS. NICOLAOU: Just for the               23   video footage, does it accurately depict how
24         record, those exhibits were all               24   the lighting conditions existed on the date of
25         marked on February 1, 2019.                   25   Mr. Shin's accident?
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                                                Page 101                                                  Page 103
 1                   SO                                     1                 SO
 2              (Video being played.)                       2        A. Yes.
 3         A. Yes.                                          3        Q. In front of the security camera?
 4         Q. Does it accurately depict how                 4        A. Yes.
 5    the lighting conditions existed at the time of        5        Q. Do you know who that is?
 6    Mr. Shin's accident?                                  6        A. That was Young.
 7         A. Yes.                                          7        Q. Young Lee?
 8              MS. NICOLAOU: We're one                     8        A. Young.
 9         minute and five seconds into the                 9        Q. Yes?
10         security footage.                               10        A. Yes.
11         Q. Do you see the individuals shown             11        Q. And the person who has his hand
12    in that paused video footage?                        12   to the back of Mr. Young Lee, do you know who
13         A. Yes.                                         13   that person is?
14         Q. Do you know who these are? Who               14        A. Now the owner of the building.
15    the people are? Sitting here today, do you           15        Q. That's who you recognize to be
16    know who they are?                                   16   the current owner of the building?
17         A. Yes.                                         17        A. Yes.
18         Q. Could you tell me, sir, to the               18        Q. Prior to this accident, did you
19    best of your ability, however you could              19   ever see this individual before? Did you
20    describe them. Who's who in this video               20   recognize him?
21    footage?                                             21        A. I don't recognize him.
22         A. The person that rolled down the              22        Q. If you are looking from the view
23    stairs is Edward shin.                               23   of the computer screen immediately to the
24         Q. Is that the person --                        24   right of Mr. Young Lee, who is wearing the
25         A. With the glasses.                            25   green shirt, do you know who that person is?
                                                Page 102                                                  Page 104
 1                  SO                                      1                SO
 2         Q. Well, there's three people with               2       A.     No.
 3    glasses. So that doesn't really help me much.         3             (Playing video)
 4    Let me do this.                                       4             MS. NICOLAOU: I stopped it
 5            So we're one minute and                       5         at two minutes and 21 seconds into
 6    43 seconds into this security footage, sir.           6         the video.
 7            Do you see a person holding up                7         Q. Do you see Mr. Shin on the
 8    what appears to be his middle finger?                 8   ground in this video?
 9         A. Yes.                                          9         A. Yes.
10         Q. Is that person wearing glasses?              10         Q. Is he on that landing that we
11         A. Yes.                                         11   all talked about that you referred to as a
12         Q. Does he appear to be leaning up              12   gap, a space?
13    against the wall?                                    13         A. In that video it doesn't clarify
14         A. Yes.                                         14   it.
15         Q. From that video footage?                     15         Q. You can't see it. It's not
16         A. Yes.                                         16   clear for you in this video?
17         Q. Is that Mr. Shin?                            17         A. Yes.
18         A. Yes.                                         18         Q. But your recollection is that he
19         Q. Is anybody else in that video                19   did land on the landing on the staircase; is
20    footage at that point where the video was            20   that right?
21    paused holding up their middle finger?               21         A. I believe so.
22         A. No.                                          22             MS. NICOLAOU: Off the
23         Q. And there's a person, what                   23         record.
24    appears to be, I think is a green shirt. Do          24             (Discussion is held off the
25    you see that?                                        25         record.)
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                                               Page 105                                               Page 107
 1                    SO                                   1                 SO
 2          Q. Sir, this was marked as                     2            MS. NICOLAOU: Do you
 3    Defendant's Exhibit L on February 1, 2019.           3        remember what the video footage
 4    Take a look at that.                                 4        was marked as? First one?
 5              Tell me when you're done?                  5            (Discussion is held off the
 6          A. Done.                                       6        record.)
 7          Q. Is that Mr. Shin in that                    7        Q. Mr. So, the security footage
 8    photograph, sir?                                     8   that I showed you that was two minutes and
 9          A. Yes.                                        9   22 seconds, is that a security footage from
10          Q. Based on this photograph, can              10   the security cameras at YS2?
11    you tell -- I think if you hold it this way.        11        A. Yes.
12    Can you tell whether or not he's sitting on         12        Q. And is that security footage
13    the landing or on the bottom of the staircase?      13   from the security cameras at YS2 maintained by
14          A. Hard to tell.                              14   YS2 in the regular course of business?
15          Q. It's hard to tell.                         15        A. Yes.
16              You can compare it to other               16        Q. Do you know who if anyone pulled
17    photographs to make it easier?                      17   this video footage?
18          A. Like a flat surface.                       18        A. Owner.
19          Q. Looks like a flat surface, is              19        Q. The owner did. Were you with
20    that right, sir?                                    20   him when he did it?
21          A. Yes. Like a flat surface.                  21        A. No.
22    Because then you could see the stairs.              22        Q. Did you have a conversation with
23          Q. Okay. So you can't tell whether            23   the owner -- and that was Mr. Yi, right?
24    this is the landing or the bottom of the            24        A. Mr. Yi.
25    staircase?                                          25        Q. Did you have a conversation with
                                               Page 106                                               Page 108
 1                  SO                                     1                 SO
 2         A. Not with this picture.                       2   him as to whether or not he had the video
 3         Q. The security cameras at YS2, do              3   footage?
 4    you know who they belong to?                         4        A. Say that again?
 5         A. The owner.                                   5        Q. Did you have a conversation with
 6         Q. Owner of what?                               6   the owner as to whether or not he had any
 7         A. The establishment.                           7   security footage?
 8         Q. YS2?                                         8        A. No.
 9         A. YS2.                                         9        Q. Do you know how long the
10         Q. If you were to view video                   10   security footage is generally maintained at
11    footage of those security cameras, where would      11   YS2?
12    you go to look at the video footage?                12        A. No.
13         A. To the owner.                               13        Q. Who is Shee Yeon?
14         Q. So you would ask the owner. But             14        A. Who?
15    where would the owner go to pull the video          15        Q. Shee Yeon.
16    footage to bring it up?                             16        A. Can you spell that?
17         A. In the main office.                         17        Q. I believe it's spelled S-H-E-E.
18         Q. Is there an office in YS2?                  18   Last name Y-E-O-N. I may be mispronouncing
19         A. Yes.                                        19   it.
20         Q. Are there computers?                        20        A. I don't know.
21         A. Office, no.                                 21            MS. NICOLAOU: Off the
22         Q. Is there a computer system at               22        record.
23    YS2 that allows you to bring up video footage       23            (Discussion is held off the
24    from the security cameras?                          24        record.)
25         A. A laptop.                                   25            MR. MCCARTHY: Can I ask
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                                              Page 109                                                  Page 111
 1               SO                                       1                 SO
 2     questions?                                         2        Q. And you started the same time as
 3          MS. NICOLAOU: Go ahead.                       3   the server, is that John Lee?
 4 EXAMINATION BY MR. MCCARTHY:                           4        A. Correct.
 5     Q. Good afternoon. My name is Tim                  5        Q. Did you know John Lee before or
 6 McCarthy. I'm counsel to the law firm who              6   you both started working there?
 7 represents defendant Young Lee.                        7        A. Yes.
 8          The same instructions, if you                 8        Q. Was he a friend of yours before
 9 don't understand a question, you'll tell me,           9   you both started working there?
10 yes?                                                  10        A. Yes.
11     A. Yes.                                           11        Q. Did you recommend him or did he
12     Q. I know on Defendant's Exhibit B                12   recommend you for the position?
13 and C it refers to tables.                            13        A. I don't really -- nobody
14          Does table mean room? If you                 14   recommended nobody.
15 want to see them.                                     15        Q. How long did you know him before
16          MS. BERKOWITZ: Look at what                  16   you started work?
17     he's referring to.                                17        A. Many years.
18     Q. Exhibit C has table two. And                   18        Q. Did you guys go to school
19 Exhibit B has table three. Do they refer to           19   together?
20 rooms?                                                20        A. Correct.
21     A. Yes.                                           21        Q. What school is that?
22     Q. So then Exhibit C is probably                  22        A. Benjamin Cardozo High School.
23 room two?                                             23        Q. Did you always have the title
24     A. Table room same. Different                     24   manager from the time you first started
25 terminology.                                          25   working there in the middle of 2016 until the
                                              Page 110                                                  Page 112
 1                    SO                                  1                 SO
 2          Q. Exhibit B, when it says table              2   date of the incident?
 3    three, that's probably room three?                  3        A. Yes.
 4          A. Correct.                                   4        Q. Do you know if Mr. John Lee had
 5          Q. In Exhibit C it talks about two            5   worked in any establishment that served
 6    bottles of Johnnie Walker Blue.                     6   alcohol before he started to work for YS2?
 7              Is that the same amount of                7        A. No.
 8    liters as the Johnnie Walker Black as far as        8        Q. No, you don't know or no; he did
 9    you know?                                           9   not?
10          A. What I know is I think blue               10        A. I don't know.
11    could be a little bigger than that.                11        Q. Did YS2 employ a bouncer in
12          Q. How long were you working for             12   April of 2017?
13    the company before August 22nd, 2017?              13        A. Employ who?
14          A. Two and a half years.                     14        Q. Did you ever hear the term
15          Q. Two and a half years before               15   bouncer?
16    that? No, before April 22nd, 2017, how long?       16        A. Bouncer, oh.
17              MS. BERKOWITZ: When did you              17            MS. NICOLAOU: Security
18          start?                                       18        guard.
19          A. Probably -- that's like what?             19        A. I know what a bouncer is.
20    Two years? So I would say -- the total is two      20        Q. Did YS2 employ any security club
21    years. If you go back from January, then you       21   bouncer before the date of the incident?
22    can calculate from January from this date.         22        A. Before the day of the incident
23          Q. So the middle of 2016 you                 23   have they employed a bouncer? Yes.
24    started?                                           24        Q. Was there a bouncer on the
25          A. I believe so.                             25   premises every night when it was opened?
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                                              Page 113                                                  Page 115
 1                    SO                                  1                SO
 2          A. Yes.                                       2       A.   No.
 3          Q. Who was the bouncer that night?            3       Q.   Do they knock or the doors are
 4          A. I don't remember.                          4   open?
 5          Q. Who would have the records of              5       A.     The door is open.
 6    who was working that day?                           6             MS. BERKOWITZ: Well, like
 7          A. The owner.                                 7        physically open or --
 8          Q. When you showed up, did you have           8        Q. Is the door locked before any of
 9    to sign in anywhere?                                9   the individuals come in?
10          A. No.                                       10        A. It was not locked.
11          Q. Do you know what the bouncer's            11        Q. When a member shows up, do they
12    duties were back then?                             12   have to come and see you?
13          A. To have the establishment safe.           13        A. Usually if I'm there, I'll greet
14          Q. Was he supposed to go from room           14   them. But then usually John is the one who
15    to room the bouncer?                               15   takes care of them.
16          A. If something occurred, then               16        Q. Did you have a list of members
17    he'll be notified.                                 17   back then?
18          Q. You told us earlier that if John          18        A. No.
19    Lee felt someone was intoxicated he would tell     19        Q. How would you know if someone
20    you?                                               20   was a member or not?
21          A. Correct.                                  21        A. That's what the -- that you got
22          Q. Would he also tell the bouncer?           22   to talk to the owner.
23          A. No.                                       23        Q. Can a member bring friends?
24          Q. Where would the bouncer                   24        A. Yes.
25    generally be during the shift?                     25        Q. Is there a room for cooking
                                              Page 114                                                  Page 116
 1                  SO                                    1               SO
 2         A. Around next to -- not exactly               2   food?
 3    the entrance, but once you walk into the            3         A. Yes.
 4    entrance, maybe a couple of feet.                   4         Q. Is that a separate room from
 5         Q. So near the front door on the               5   where the alcohol is kept?
 6    top of the second floor?                            6         A. Yes.
 7         A. Correct.                                    7         Q. Did your company have any
 8         Q. Where would you be most of the              8   procedure to check a member or patron when
 9    shift?                                              9   they first showed up at the premises to see if
10         A. Walk around doing -- in the                10   they're intoxicated?
11    office.                                            11         A. Well, when they come in,
12         Q. Where was the office in relation           12   99 percent of the time they're not
13    to the door at the top of the second floor?        13   intoxicated.
14         A. The back of the establishment.             14         Q. But would you generally check
15         Q. How about rooms one, two and               15   members when they show up?
16    three, are they near the front of the              16         A. By looking at them, you could
17    establishment or towards the back or something     17   tell.
18    else?                                              18         Q. But --
19         A. Around the front.                          19         A. Unless he's like rolling on the
20         Q. If a member shows up, did he               20   floor.
21    have to ring a bell?                               21         Q. But I want to know when you
22         A. No.                                        22   greet a member or patron or a guest when they
23         Q. They come up to the office,                23   show up, is that part of your job to see if
24    knock on the door or -- I mean they come up to     24   they are already intoxicated?
25    the second floor, is there a bell there?           25         A. Is it my job?
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                                              Page 117                                                 Page 119
 1                   SO                                   1                   SO
 2         Q. Part of your duties.                        2         Q. May they turn them off totally?
 3         A. Yeah, we see if they're                     3         A. Yes.
 4    intoxicated. Then we would know. We use our         4         Q. Is there any disco lighting or
 5    judgement.                                          5   anything like that?
 6         Q. Now, if a server would tell you             6         A. Disco lighting?
 7    that a certain individual or room that seemed       7         Q. Flashing lights?
 8    to be getting intoxicated, he would call you?       8         A. Yes.
 9         A. No, he'll come out.                         9         Q. If John Lee ever told you that
10         Q. He'll come out and tell you?               10   an individual or a group appeared intoxicated,
11         A. Correct.                                   11   when you went into the room, would you do
12         Q. Then when you would go in there,           12   anything with the lights?
13    if you decided someone was intoxicated in that     13         A. Usually it's always -- even
14    room, you would tell the server no more            14   though you turn off the lights, it's going to
15    alcohol into the room?                             15   still be bright, because of the TV.
16         A. If they order more.                        16         Q. So generally the people have the
17         Q. If John Lee would come to you              17   TV on?
18    and say people seem intoxicated in this room,      18         A. It's on always.
19    is that usually when he's been asked to get        19         Q. Who provides ice?
20    more alcohol or something else?                    20         A. We do.
21         A. No. Then we'll stop the                    21         Q. When do you do that generally?
22    alcohol.                                           22         A. We provide the ice when they
23         Q. If there's already alcohol,                23   order the bottle.
24    bottles in that room, do you guys take that        24         Q. You bring like a bucket with
25    back?                                              25   ice?
                                              Page 118                                                 Page 120
 1                  SO                                    1                  SO
 2         A. No.                                         2        A. Correct.
 3         Q. Do you remember where you were              3        Q. You told us earlier you saw
 4    when you heard about this incident?                 4   Young Lee speaking to the police, right? You
 5         A. In back of the office.                      5   told us earlier that you saw young Lee
 6         Q. Do you remember who told you?               6   speaking to the police?
 7         A. I don't remember.                           7        A. Correct.
 8         Q. And then you came out to the                8        Q. Was he outside on the street at
 9    stairway?                                           9   that time?
10         A. Correct.                                   10        A. No.
11         Q. Once you saw where the plaintiff           11        Q. So using somewhere in the
12    was, was that when you called 911?                 12   stairway or --
13         A. Correct.                                   13        A. Now inside the establishment.
14         Q. And you also called the owner              14        Q. Inside the establishment. And
15    right from the stairway?                           15   how far away were you from when you heard
16         A. Correct.                                   16   Young Lee speaking to the police?
17         Q. How long did it take the owner             17        A. I don't remember.
18    to get there?                                      18        Q. Were you 20 feet away?
19         A. Pretty quick.                              19        A. Approximately. Passing. That's
20         Q. Did he arrive before the police?           20   when they arrested them.
21         A. I don't remember.                          21        Q. You were walking by?
22         Q. How about the lighting in the              22        A. Yes.
23    individual rooms, can the customers dim the        23        Q. How long did you hear him
24    lights?                                            24   talking to the police?
25         A. Yes.                                       25        A. I don't remember.
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                                             Page 121                                                Page 123
 1                  SO                                   1                  SO
 2         Q. Did the police ever say anything           2   one?
 3    to you?                                            3         A. I don't know.
 4         A. I don't remember.                          4         Q. Is there any procedure, before
 5         Q. But you heard Mr. Young Lee                5   this incident, if you deem someone to be
 6    speak to the police, right?                        6   intoxicated in a certain room, would you then
 7         A. Correct.                                   7   make sure that person wasn't served alcohol in
 8         Q. And you heard them speaking to             8   a different room?
 9    him?                                               9         A. We can't control that, because
10         A. Correct.                                  10   we don't know what's going on.
11         Q. And there was no indication to            11         Q. But you had no fixed procedure.
12    what you saw and heard that Young Lee was         12   You didn't tell Mr. Lee, look, don't serve it
13    intoxicated at the time?                          13   to this individual regardless of what room he
14         A. Correct.                                  14   goes in, right? You had no procedure like
15         Q. Has the owner of YS2 ever spoken          15   that?
16    to you about what you should say about whether    16         A. No.
17    Young Lee was intoxicated?                        17         Q. Is there an elevator leading up
18         A. Can you...                                18   to the office?
19         Q. Well, has the owner of YS2 ever           19         A. Yes.
20    told you what to say about alcohol being          20         Q. Did your company have any
21    served to Young Lee or whether he was             21   procedure as to how to escort someone out if
22    intoxicated that night?                           22   you deem them intoxicated?
23         A. Prior to the...                           23         A. There's an elevator. If they're
24         Q. Prior to today?                           24   intoxicated, then we use the elevator.
25         A. Would he say that?                        25         Q. So if your employees deem
                                             Page 122                                                Page 124
 1                 SO                                    1                 SO
 2         Q. I'm just asking. Yes or no?                2   someone intoxicated, your employees would take
 3         A. No.                                        3   them to the elevator?
 4         Q. Could you estimate for how long            4        A. Correct.
 5    you were near the police and Young Lee in          5        Q. Including the bouncer?
 6    time?                                              6        A. Correct.
 7         A. I don't remember.                          7        Q. Do you know if the bouncer was
 8         Q. Was it more than a minute? Less            8   involved in any way on that evening with
 9    than a minute?                                     9   Mr. Shin or Mr. Young Lee?
10         A. I don't remember. I don't                 10        A. No. There was no -- at that
11    remember. It's over two years, so I don't         11   time you're saying?
12    remember.                                         12        Q. Yeah, that night?
13            MR. MCCARTHY: I'm almost                  13        A. A bouncer. You say prior to --
14         done.                                        14   your question was, was there a bouncer prior
15         Q. Could people change rooms during          15   to the incident. And I said yes, there was.
16    the night?                                        16        Q. But there was a bouncer onsite
17         A. Why would they change rooms?              17   then?
18         Q. I don't know. Did you ever                18        A. No.
19    experience any groups move from room two to       19        Q. No. How come there was no
20    room one?                                         20   bouncer on the date of the incident?
21         A. If they know each other, yes,             21        A. That's on the owner's
22    they may hop around. But changing rooms is        22   discretion.
23    rare.                                             23        Q. Did he generally have a bouncer
24         Q. If someone went from room two to          24   during the six months before this incident?
25    room one, they might drink alcohol in room        25   Was there generally a bouncer present?
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                                              Page 125                                                 Page 127
 1                SO                               1                           SO
 2      A. Prior to he had a bouncer. But          2               A. Yes.
 3 then I guess -- it's not cheap.                 3               Q. Where is the counter in relation
 4          MS. BERKOWITZ: Don't guess             4          to the area that the security footage
 5      at anything. Don't guess at                5          captured?
 6      anything.                                  6               A. So as you walk in to the left
 7      Q. Do you know if the bouncers were        7          side.
 8 employees of YS2 or were they outside venders? 8                Q. So it's not in the video, is
 9      A. That you could talk to Mr. Yi.          9          that right? It's not captured by the camera,
10 I don't do that part.                          10          at least the one that we have; is that right?
11      Q. Do you know if the owner would         11               A. Correct.
12 hire bouncers depending on the number of rooms 12               Q. It's off to the left side.
13 that were rented out?                          13          About how many feet, once you get on top of
14      A. That you have to speak to Mr.          14          the stairs, on the top of the stairs you hit
15 Yi.                                            15          the landing to the second floor, how many feet
16      Q. So you don't know?                     16          to the left is it?
17      A. I don't do none of that.               17               A. Probably five feet, six feet.
18          MR. MCCARTHY: Nothing                 18               Q. Do you know who the person is
19      further at this time.                     19          that's operating this mouse?
20          MS. NICOLAOU: I just have             20               A. No.
21      one question.                             21               Q. Do you know who recorded the
22 EXAMINATION BY MS. NICOLAOU:                   22          security footage?
23      Q. I'm going to show you what has         23               A. No.
24 been marked as Defendant's Exhibit A on        24                   MS. NICOLAOU: I have
25 February 1, 2019.                              25               nothing further. Thank you.
                                              Page 126                                                 Page 128
 1                  SO                                    1              SO
 2             Now, this is what appears to be            2         MR. COHEN: No further
 3    a video of somebody videotaping with their          3      questions.
 4    cell phone a computer screen; is that fair?         4         MS. NICOLAOU: I'm getting a
 5         A. Yes.                                        5      copy.
                                                          6         MR. COHEN: My own copy.
 6         Q. Sir, looking at this security
                                                          7         (Time noted: 1:55 p.m.)
 7    footage, it appears to be the same security
                                                          8
 8    footage that was marked today as So-1.              9
 9             Can you tell me, sir, where is            10          -----------------------
10    this computer screen located? I'm going to                           JOSHUA SO
11    zoom out for a second.                             11
12             Can you tell where that screen            12 Subscribed and sworn to
13    was located?                                          before me this    day
14         A. At the counter.                            13 of     , 2019
15         Q. Front counter?                             14
16         A. Front counter.                             15
17         Q. Is the front counter depicted in           16 Notary Public
                                                         17
18    the security footage at all?
                                                         18
19         A. Say it again?
                                                         19
20         Q. The front counter is it depicted           20
21    in the security footage?                           21
22         A. What do you mean by that?                  22
23         Q. In other words, the location of            23
24    the security footage that we saw today shows       24
25    the top of the staircase, the staircase, yes?      25
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  1 1
  2 2     STATE OF NEW YORK )
                   ) ss.:
 3    3   COUNTY OF NEW YORK )
 4    4          CERTIFICATE
 5    5
 6    6       I, CHRISTINE CUTRONE, Shorthand
 7    7   Reporter and a Notary Public within and
 8    8   for the State of New York, do hereby
 9    9   state:
10   10        That the witness whose examination is
11   11    herein before set forth was duly sworn and
12   12    that such an examination is a true record
13   13    of the testimony given by such a witness.
14   14        I further state that I am not related
15   15    to any of these parties to this action by
16   16    blood or marriage, and that I am not in
17   17    any way interested in the outcome of this
18   18    matter.
19   19        IN WITNESS WHEREOF, I have hereunto
20   20    set my hand this 26th day of March, 2019.
21   21
22   22
23   23
24
                   CHRISTINE CUTRONE
25 25
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[brazil - cleaner]

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